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 Fill in this information to identify your case:

     United States Bankruptcy Court for the:

     ____________________  District of _________________
     Southern District of Florida        (State)
     Case number (If known): _________________________ Chapter you are filing under:
                                                       
                                                       ✔ Chapter 7
                                                                Chapter 11
                                                                Chapter 12
                                                                Chapter 13                                                Check if this is an
                                                                                                                              amended filing


Official Form 101
Volunt a r y Pe t it ion for I ndividua ls Filing for Ba nk rupt cy                                                                               04/20

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


Pa rt 1 :     I de nt ify Yourse lf

                                        About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
1.    Your full name
       Write the name that is on your
       government-issued picture
                                         Isabel
                                        __________________________________________________           __________________________________________________
       identification (for example,     First name                                                   First name
       your driver’s license or          Maria
                                        __________________________________________________           __________________________________________________
       passport).                       Middle name                                                  Middle name

       Bring your picture                Siles
                                        __________________________________________________           __________________________________________________
       identification to your meeting   Last name                                                    Last name
       with the trustee.                ___________________________                                  ___________________________
                                        Suffix (Sr., Jr., II, III)                                   Suffix (Sr., Jr., II, III)




2.    All other names you
      have used in the last 8
      years
       Include your married or
       maiden names.




3.    Only the last 4 digits of                           9    3    9    5
      your Social Security              xxx        – xx – ____ ____ ____ ____                        xxx    – xx – ____ ____ ____ ____
      number or federal                 OR                                                           OR
      Individual Taxpayer
      Identification number             9 xx – xx – ____ ____ ____ ____                              9 xx – xx – ____ ____ ____ ____
      (ITIN)


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                                  About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):


4.   Any business names
     and Employer                 
                                  ✔ I have not used any business names or EINs.                 I have not used any business names or EINs.
     Identification Numbers
     (EIN) you have used in       _________________________________________________            _________________________________________________
     the last 8 years             Business name                                                Business name

     Include trade names and
                                  _________________________________________________            _________________________________________________
     doing business as names      Business name                                                Business name



                                  _________________________________________________            _________________________________________________
                                  EIN                                                          EIN

                                  _________________________________________________            _________________________________________________

                                  EIN                                                          EIN



5.   Where you live                                                                            If Debtor 2 lives at a different address:


                                  14249 SW 296 Street                                          _________________________________________________
                                  _________________________________________________
                                  Number     Street                                            Number     Street


                                  _________________________________________________            _________________________________________________


                                  Homestead                               FL
                                  _________________________________________________
                                                                                    33033      _________________________________________________
                                  City                            State   ZIP Code             City                            State   ZIP Code

                                  Miami-Dade County                                            _________________________________________________
                                  _________________________________________________
                                  County                                                       County


                                  If your mailing address is different from the one            If Debtor 2’s mailing address is different from
                                  above, fill it in here. Note that the court will send        yours, fill it in here. Note that the court will send
                                  any notices to you at this mailing address.                  any notices to this mailing address.


                                  _________________________________________________            _________________________________________________
                                  Number     Street                                            Number     Street

                                  _________________________________________________            _________________________________________________
                                  P.O. Box                                                     P.O. Box

                                  _________________________________________________            _________________________________________________
                                  City                            State   ZIP Code             City                            State   ZIP Code




6.   Why you are choosing         Check one:                                                   Check one:
     this district to file for
     bankruptcy                   
                                  ✔ Over the last 180 days before filing this petition, I       Over the last 180 days before filing this petition, I
                                        have lived in this district longer than in any other      have lived in this district longer than in any other
                                        district.                                                 district.

                                   I have another reason. Explain.                             I have another reason. Explain.
                                        (See 28 U.S.C. § 1408.)                                   (See 28 U.S.C. § 1408.)




     Official Form 101                           Voluntary Petition for Individuals Filing for Bankruptcy                                 page 2
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 Pa rt 2 :     T e ll t he Court About Y our Ba nk ruptc y Ca se


 7.    The chapter of the             Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
       Bankruptcy Code you            for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
       are choosing to file
       under
                                      
                                      ✔
                                        Chapter 7
                                       Chapter 11
                                       Chapter 12
                                       Chapter 13

 8.    How you will pay the fee       
                                      ✔
                                        I will pay the entire fee when I file my petition. Please check with the clerk’s office in your
                                         local court for more details about how you may pay. Typically, if you are paying the fee
                                         yourself, you may pay with cash, cashier’s check, or money order. If your attorney is
                                         submitting your payment on your behalf, your attorney may pay with a credit card or check
                                         with a pre-printed address.

                                       I need to pay the fee in installments. If you choose this option, sign and attach the
                                         Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                       I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                         By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                         less than 150% of the official poverty line that applies to your family size and you are unable to
                                         pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                         Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9.     Have you filed for       
                                ✔ No
       bankruptcy within the
       last 8 years?             Yes.   District ____________________________________________ When ______________ Case number __________________


                                         District ____________________________________________ When ______________ Case number __________________


                                         District ____________________________________________ When ______________ Case number __________________




 10.   Are any bankruptcy              ✔ No
       cases pending or being
       filed by a spouse who is         Yes.
       not filing this case with
       you, or by a business
       partner, or by an       Debtor _________________________________________________                 Relationship to you ________________________
       affiliate?              District _______________________________________________ When _______________ Case number, if known__________________



                                Debtor _________________________________________________                    R elationship to you ___________________________

                                District _______________________________________________ When _______________ Case number, if known__________________


11.    Do you rent your               
                                      ✔ No.    Go to line 12.
       residence?                      Yes.   Has your landlord obtained an eviction judgment against you?


                                                   No. Go to line 12.
                                                   Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with
                                                    this bankruptcy petition.




       Official Form 101                          Voluntary Petition for Individuals Filing for Bankruptcy                                   page 3
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Pa rt 3 :     Re port About Any Busine sse s Y ou Ow n a s a Sole Proprie t or


12.   Are you a sole proprietor         
                                        ✔ No. Go to Part 4.
      of any full- or part-time
      business?                          Yes. Name and location of business
      A sole proprietorship is a
      business you operate as an                 _______________________________________________________________________________________
                                                 Name of business, if any
      individual, and is not a
      separate legal entity such as
      a corporation, partnership, or             _______________________________________________________________________________________
                                                 Number    Street
      LLC.
      If you have more than one
                                                 _______________________________________________________________________________________
      sole proprietorship, use a
      separate sheet and attach it
      to this petition.                          _______________________________________________        _______      __________________________
                                                  City                                                  State        ZIP Code


                                                 Check the appropriate box to describe your business:
                                                    Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                    Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                    Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                    Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                    None of the above

                                        If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor
13.   Are you filing under              choosing to proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you
      Chapter 11 of the                 are a small business debtor or you are choosing to proceed under Subchapter V, you must attach your
      Bankruptcy Code and               most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or
      are you a small business          if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      debtor or a debtor as
                                        
                                        ✔ No.    I am not filing under Chapter 11.
      defined by 11 U.S. C. §
      1182(1)?                           No.    I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
                                                 the Bankruptcy Code.
      For a definition of small
      business debtor, see               Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
      11 U.S.C. § 101(51D).                      Bankruptcy Code, and I do not choose to proceed under Subchapter V of Chapter 11.

                                         Yes. I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the
                                           Bankrutpcy Code, and I choose to proceed under Subchatper V of Chapter 11.

Pa rt 4 :     Re port if Y ou Ow n or H a ve Any Ha za rdous Prope rt y or Any Prope rty T ha t N e e ds Im m edia te Att e nt ion
14.   Do you own or have any            
                                        ✔ No
      property that poses or is
      alleged to pose a threat           Yes.    What is the hazard?
      of imminent and
      identifiable hazard to
      public health or safety?
      Or do you own any
      property that needs
                                                  If immediate attention is needed, why is it needed?
      immediate attention?
      For example, do you own
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?
                                                  Where is the property?




      Official Form 101                              Voluntary Petition for Individuals Filing for Bankruptcy                                  page 4
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Pa rt 5 :     Ex pla in Y our Effort s to Re c e ive a Brie fing About Cre dit Counse ling

                                        About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
15.   Tell the court whether
      you have received a
      briefing about credit             You must check one:                                          You must check one:
      counseling.
                                        
                                        ✔ I received a briefing from an approved credit               I received a briefing from an approved credit
                                           counseling agency within the 180 days before I               counseling agency within the 180 days before I
      The law requires that you            filed this bankruptcy petition, and I received a             filed this bankruptcy petition, and I received a
      receive a briefing about credit      certificate of completion.                                   certificate of completion.
      counseling before you file for
                                           Attach a copy of the certificate and the payment             Attach a copy of the certificate and the payment
      bankruptcy. You must
                                           plan, if any, that you developed with the agency.            plan, if any, that you developed with the agency.
      truthfully check one of the
      following choices. If you          I received a briefing from an approved credit               I received a briefing from an approved credit
      cannot do so, you are not            counseling agency within the 180 days before I               counseling agency within the 180 days before I
      eligible to file.                    filed this bankruptcy petition, but I do not have a          filed this bankruptcy petition, but I do not have a
                                           certificate of completion.                                   certificate of completion.
      If you file anyway, the court
                                           Within 14 days after you file this bankruptcy petition,      Within 14 days after you file this bankruptcy petition,
      can dismiss your case, you
                                           you MUST file a copy of the certificate and payment          you MUST file a copy of the certificate and payment
      will lose whatever filing fee
                                           plan, if any.                                                plan, if any.
      you paid, and your creditors
      can begin collection activities    I certify that I asked for credit counseling                I certify that I asked for credit counseling
      again.                               services from an approved agency, but was                    services from an approved agency, but was
                                           unable to obtain those services during the 7                 unable to obtain those services during the 7
                                           days after I made my request, and exigent                    days after I made my request, and exigent
                                           circumstances merit a 30-day temporary waiver                circumstances merit a 30-day temporary waiver
                                           of the requirement.                                          of the requirement.
                                           To ask for a 30-day temporary waiver of the                  To ask for a 30-day temporary waiver of the
                                           requirement, attach a separate sheet explaining              requirement, attach a separate sheet explaining
                                           what efforts you made to obtain the briefing, why            what efforts you made to obtain the briefing, why
                                           you were unable to obtain it before you filed for            you were unable to obtain it before you filed for
                                           bankruptcy, and what exigent circumstances                   bankruptcy, and what exigent circumstances
                                           required you to file this case.                              required you to file this case.
                                           Your case may be dismissed if the court is                   Your case may be dismissed if the court is
                                           dissatisfied with your reasons for not receiving a           dissatisfied with your reasons for not receiving a
                                           briefing before you filed for bankruptcy.                    briefing before you filed for bankruptcy.
                                           If the court is satisfied with your reasons, you must        If the court is satisfied with your reasons, you must
                                           still receive a briefing within 30 days after you file.      still receive a briefing within 30 days after you file.
                                           You must file a certificate from the approved                You must file a certificate from the approved
                                           agency, along with a copy of the payment plan you            agency, along with a copy of the payment plan you
                                           developed, if any. If you do not do so, your case            developed, if any. If you do not do so, your case
                                           may be dismissed.                                            may be dismissed.
                                           Any extension of the 30-day deadline is granted              Any extension of the 30-day deadline is granted
                                           only for cause and is limited to a maximum of 15             only for cause and is limited to a maximum of 15
                                           days.                                                        days.

                                         I am not required to receive a briefing about               I am not required to receive a briefing about
                                           credit counseling because of:                                credit counseling because of:

                                            Incapacity.      I have a mental illness or a mental        Incapacity.      I have a mental illness or a mental
                                                              deficiency that makes me                                     deficiency that makes me
                                                              incapable of realizing or making                             incapable of realizing or making
                                                              rational decisions about finances.                           rational decisions about finances.
                                            Disability.      My physical disability causes me           Disability.      My physical disability causes me
                                                              to be unable to participate in a                             to be unable to participate in a
                                                              briefing in person, by phone, or                             briefing in person, by phone, or
                                                              through the internet, even after I                           through the internet, even after I
                                                              reasonably tried to do so.                                   reasonably tried to do so.
                                            Active duty.     I am currently on active military          Active duty.     I am currently on active military
                                                              duty in a military combat zone.                              duty in a military combat zone.
                                           If you believe you are not required to receive a             If you believe you are not required to receive a
                                           briefing about credit counseling, you must file a            briefing about credit counseling, you must file a
                                           motion for waiver of credit counseling with the court.       motion for waiver of credit counseling with the court.




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Pa rt 6 :      Answ e r T he se Que st ions for Re port ing Purpose s

                                      16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16.   What kind of debts do                as “incurred by an individual primarily for a personal, family, or household purpose.”
      you have?
                                              No. Go to line 16b.
                                           
                                           ✔   Yes. Go to line 17.

                                      16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                              No. Go to line 16c.
                                              Yes. Go to line 17.

                                      16c. State the type of debts you owe that are not consumer debts or business debts.
                                           _______________________________________________________________

17.   Are you filing under
      Chapter 7?                       No.    I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after ✔ Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
      any exempt property is             administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      excluded and                        No
                                         ✔
      administrative expenses
      are paid that funds will be         Yes
      available for distribution
      to unsecured creditors?

18.   How many creditors do           
                                      ✔ 1-49                                    1,000-5,000                             25,001-50,000
      you estimate that you            50-99                                   5,001-10,000                            50,001-100,000
      owe?                             100-199                                 10,001-25,000                           More than 100,000
                                       200-999
19.   How much do you                  $0-$50,000                              $1,000,001-$10 million                  $500,000,001-$1 billion
      estimate your assets to          $50,001-$100,000                        $10,000,001-$50 million                 $1,000,000,001-$10 billion
      be worth?                       
                                      ✔ $100,001-$500,000                       $50,000,001-$100 million                $10,000,000,001-$50 billion
                                       $500,001-$1 million                     $100,000,001-$500 million               More than $50 billion
20.   How much do you                  $0-$50,000                              $1,000,001-$10 million                  $500,000,001-$1 billion
      estimate your liabilities        $50,001-$100,000                        $10,000,001-$50 million                 $1,000,000,001-$10 billion
      to be?                          
                                      ✔ $100,001-$500,000                       $50,000,001-$100 million                $10,000,000,001-$50 billion
                                       $500,001-$1 million                     $100,000,001-$500 million               More than $50 billion
Pa rt 7 :      Sign Be low

                                      I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                               correct.
                                      If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                      of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                      under Chapter 7.
                                      If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                      this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                      I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                      I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                      with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                      18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                       /s/ Isabel Maria Siles
                                         ______________________________________________              _____________________________
                                         Signature of Debtor 1                                           Signature of Debtor 2

                                                         06/02/2020
                                         Executed on _________________                                   Executed on __________________
                                                        MM    / DD    / YYYY                                            MM / DD     / YYYY




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                                I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are   to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one              available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
If you are not represented      knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                _________________________________
                                  /s/ Richard Adams                                                 Date           06/02/2020
                                                                                                                  _________________
                                   Signature of Attorney for Debtor                                               MM     /   DD / YYYY



                                     Richard Adams
                                   _________________________________________________________________________________________________
                                   Printed name

                                     Adams & Associates, P.A.
                                   _________________________________________________________________________________________________
                                   Firm name

                                    6500 Cowpen Road
                                   _________________________________________________________________________________________________
                                   Number Street

                                    #101
                                   _________________________________________________________________________________________________

                                    Miami lakes                                                     FL            33014
                                   ______________________________________________________ ____________ ______________________________
                                   City                                                    State        ZIP Code




                                   Contact phone 3058249800
                                                 ______________________________         Email address
                                                                                                        jessica@richardadamslaw.com
                                                                                                         _________________________________________



                                    770434                                                          FL
                                   ______________________________________________________ ____________
                                   Bar number                                              State




       Official Form 101                            Voluntary Petition for Individuals Filing for Bankruptcy                                      page 7
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 Fill in this information to identify your case:

 Debtor 1
                     Isabel Maria Siles
                   __________________________________________________________________
                     First Name                      Middle Name                    Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name                    Last Name


                                         ______________________
 United States Bankruptcy Court for the: Southern District of Florida District of __________
                                                                                                (State)
 Case number         ___________________________________________                                                                                                           Check if this is an
                     (If known)                                                                                                                                              amended filing



Official Form 106Sum
Sum m a ry of Y our Asse t s a nd Lia bilit ie s a nd Ce rt a in St a t ist ic a l I nform a t ion                                                                                       12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Pa rt 1 :      Sum ma rize Your Asse t s


                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B ........................................................................................................       $ 215,764.00
                                                                                                                                                                            ________________



    1b. Copy line 62, Total personal property, from Schedule A/B .............................................................................................            $ 2,118.57
                                                                                                                                                                            ________________


    1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................................
                                                                                                                                                                          $ 217,882.57
                                                                                                                                                                            ________________



Pa rt 2 :      Sum ma rize Your Lia bilit ie s



                                                                                                                                                                      Your liabilities
                                                                                                                                                                      Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............                                       $ 277,508.00
                                                                                                                                                                            ________________


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                          $ 0.00
                                                                                                                                                                            ________________
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ...........................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F .......................................
                                                                                                                                                                      +   $ 23,668.00
                                                                                                                                                                            ________________


                                                                                                                                     Your total liabilities               $ 301,176.00
                                                                                                                                                                            ________________



Pa rt 3 :      Sum ma rize Your I nc ome a nd Ex pe nse s


4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I ........................................................................................                 $ 1,495.00
                                                                                                                                                                            ________________


5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J ..................................................................................................             $ 1,494.06
                                                                                                                                                                            ________________




Official Form 106Sum                                Summary of Your Assets and Liabilities and Certain Statistical Information                                                 page 1 of 2
                                   Case 20-16082-AJC                  Doc 1        Filed 06/02/20             Page 9 of 63
                  Isabel Maria Siles
Debtor 1         _______________________________________________________                           Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




Pa rt 4 :      Answ e r T he se Que st ions for Adm inist ra t ive a nd Sta t istic a l Re c ords

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

     No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
     Yes
     ✔




7. What kind of debt do you have?

     Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
    ✔


           family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

     Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
    Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                          692.00
                                                                                                                                       $ _________________




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                            Total claim


     From Part 4 on Schedule E/F, copy the following:

                                                                                                                               0.00
    9a. Domestic support obligations (Copy line 6a.)                                                        $_____________________


                                                                                                                               0.00
                                                                                                            $_____________________
    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)

                                                                                                                               0.00
                                                                                                            $_____________________
    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)

                                                                                                                               0.00
                                                                                                            $_____________________
    9d. Student loans. (Copy line 6f.)


    9e. Obligations arising out of a separation agreement or divorce that you did not report as                                0.00
                                                                                                            $_____________________
        priority claims. (Copy line 6g.)

                                                                                                                               0.00
    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)              +   $_____________________



    9g. Total. Add lines 9a through 9f.                                                                                         0.00
                                                                                                            $_____________________




    Official Form 106Sum                      Summary of Your Assets and Liabilities and Certain Statistical Information                      page 2 of 2
                               Case
Fill in this information to identify    20-16082-AJC
                                     your case and this filing:          Doc 1            Filed 06/02/20       Page 10 of 63

Debtor 1
                    Isabel Maria Siles
                  __________________________________________________________________
                    First Name               Middle Name                Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name               Middle Name                Last Name


                                        ______________________
United States Bankruptcy Court for the: Southern District of Florida District of __________
                                                                                    (State)
Case number         ___________________________________________
                                                                                                                                         Check if this is an
                                                                                                                                             amended filing

Official Form 106A/B
Sche dule A/B: Prope r t y                                                                                                                              12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Pa rt 1 :      De sc ribe Ea c h Re side nc e , Building, La nd, or Othe r Re a l Est a t e You Ow n or H a ve a n I nt e re st I n
1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.
    
    ✔    Yes. Where is the property?                             What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put
                                                                 
                                                                 ✔    Single-family home                           the amount of any secured claims on Schedule D:
      1.1. 14249    SW 296 Street
           _________________________________________                 Duplex or multi-unit building
                                                                                                                   Creditors Who Have Claims Secured by Property:
           Street address, if available, or other description
                                                                     Condominium or cooperative                   Current value of the Current value of the
                                                                     Manufactured or mobile home                  entire property?     portion you own?
             _________________________________________
                                                                     Land                                          215,764.00
                                                                                                                   $________________   215,764.00
                                                                                                                                     $_________________
                                                                     Investment property
             Homestead                FL     33033                                                                 Describe the nature of your ownership
             _________________________________________
             City                        State      ZIP Code
                                                                     Timeshare                                    interest (such as fee simple, tenancy by
                                                                     Other __________________________________     the entireties, or a life estate), if known.

                                                                 Who has an interest in the property? Check one.
                                                                                                                   Fee  simple
                                                                                                                   __________________________________________

                                                                 
                                                                 ✔ Debtor 1 only                                    Check if this is community property
             _________________________________________
             County                                               Debtor 2 only
                                                                  Debtor 1 and Debtor 2 only
                                                                  At least one of the debtors and another
                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number:




    If you own or have more than one, list here:                What is the property? Check all that apply.        Do not deduct secured claims or exemptions. Put
                                                                    Single-family home                            the amount of any secured claims on Schedule D:
                                                                                                                   Creditors Who Have Claims Secured by Property.
      1.2. ________________________________________
           Street address, if available, or other description
                                                                    Duplex or multi-unit building
                                                                   Condominium or cooperative                     Current value of the     Current value of the
                                                                    Manufactured or mobile home                   entire property?         portion you own?
             ________________________________________
                                                                    Land                                          $________________        $_________________
                                                                    Investment property
             ________________________________________
             City                    State   ZIP Code
                                                                    Timeshare                                     Describe the nature of your ownership
                                                                    Other __________________________________      interest (such as fee simple, tenancy by
                                                                                                                   the entireties, or a life estate), if known.
                                                                Who has an interest in the property? Check one.
                                                                                                                   __________________________________________
                                                                 Debtor 1 only
             ________________________________________
             County                                              Debtor 2 only
                                                                 Debtor 1 and Debtor 2 only                        Check if this is community property
                                                                 At least one of the debtors and another             (see instructions)

                                                                Other information you wish to add about this item, such as local
                                                                property identification number:




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                  Isabel Maria Siles
                                    Case 20-16082-AJC                      Doc 1        Filed 06/02/20           Page 11 of 63
Debtor 1           _______________________________________________________                             Case number (if known)_____________________________________
                   First Name    Middle Name           Last Name




1.____                                                             What is the property? Check all that apply.            Do not deduct secured claims or exemptions. Put

             ________________________________________
                                                                      Single-family home                                 the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
             Street address, if available, or other description       Duplex or multi-unit building
                                                                      Condominium or cooperative                         Current value of the      Current value of the
                                                                                                                          entire property?          portion you own?
             ________________________________________                 Manufactured or mobile home
                                                                      Land                                               $________________         $_________________

             ________________________________________
                                                                      Investment property
             City                    State   ZIP Code                 Timeshare
                                                                                                                          Describe the nature of your ownership
                                                                                                                          interest (such as fee simple, tenancy by
                                                                      Other __________________________________           the entireties, or a life estate), if known.
                                                                                                                         __________________________________________
                                                                   Who has an interest in the property? Check one.
             ________________________________________               Debtor 1 only
             County
                                                                    Debtor 2 only
                                                                    Debtor 1 and Debtor 2 only                            Check if this is community property
                                                                                                                              (see instructions)
                                                                    At least one of the debtors and another
                                                                   Other information you wish to add about this item, such as local
                                                                   property identification number:




2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages                                  215,764.00
                                                                                                                                                    $_________________
   you have attached for Part 1. Write that number here. ...................................................................................... 


Pa rt 2 :        De sc ribe Y our V e hic le s


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

          No
    
    ✔      Yes


    3.1.
                    Ford
             Make: ____________________________                    Who has an interest in the property? Check one.        Do not deduct secured claims or exemptions. Put
                     Freestar
             Model: ____________________________                   
                                                                   ✔ Debtor 1 only                                        the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
                                    2004                            Debtor 2 only
             Year:                 ____________
                                                                    Debtor 1 and Debtor 2 only                           Current value of the      Current value of the
                                   160000                                                                                 entire property?          portion you own?
             Approximate mileage: ____________                      At least one of the debtors and another
         Other information:
                                                                                                                           1,054.00                  1,054.00
   Condition: Fair                                                  Check if this is community property (see             $________________         $________________
                                                                       instructions)



    If you own or have more than one, describe here:
            Make: ____________________________                     Who has an interest in the property? Check one.        Do not deduct secured claims or exemptions. Put
    3.2.

            Model: ____________________________                     Debtor 1 only                                        the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
                                                                    Debtor 2 only
            Year:                       ____________                                                                      Current value of the      Current value of the
                                                                    Debtor 1 and Debtor 2 only                           entire property?          portion you own?
            Approximate mileage: ____________                       At least one of the debtors and another
            Other information:
                                                                    Check if this is community property (see             $________________         $________________
                                                                       instructions)




                                                                                                                                                                   10
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                                                                                                                                                         page ___
Debtor 1         Isabel Maria SilesCase 20-16082-AJC             Doc 1
                   _______________________________________________________
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                                                                                                                     Case number (if known)_____________________________________
                  First Name          Middle Name               Last Name




                        ____________________________                           Who has an interest in the property? Check one.                           Do not deduct secured claims or exemptions. Put
  ____.     Make:
            Model: ____________________________                                 Debtor 1 only                                                           the amount of any secured claims on Schedule D:
                                                                                                                                                         Creditors Who Have Claims Secured by Property.
                                                                                Debtor 2 only
            Year:                             ____________
                                                                                Debtor 1 and Debtor 2 only                                              Current value of the             Current value of the
                                                                                                                                                         entire property?                 portion you own?
            Approximate mileage: ____________                                   At least one of the debtors and another
            Other information:
                                                                                Check if this is community property (see                                $________________                $________________
                                                                                   instructions)




                                                                               Who has an interest in the property? Check one.                           Do not deduct secured claims or exemptions. Put
  ____      Make: ____________________________
            Model: ____________________________                                 Debtor 1 only                                                           the amount of any secured claims on Schedule D:
                                                                                                                                                         Creditors Who Have Claims Secured by Property.
                                                                                Debtor 2 only
            Year:                             ____________
                                                                                Debtor 1 and Debtor 2 only                                              Current value of the             Current value of the
                                                                                                                                                         entire property?                 portion you own?
            Approximate mileage: ____________                                   At least one of the debtors and another
            Other information:
                                                                                Check if this is community property (see                                $________________                $________________
                                                                                   instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
    Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
    
    ✔      No
          Yes


                                                                              Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
    4.1.     Make:       ____________________________

             Model: ____________________________                               Debtor 1 only                                                            the amount of any secured claims on Schedule D:
                                                                                                                                                         Creditors Who Have Claims Secured by Property.
                                                                               Debtor 2 only
             Year:       ____________
                                                                               Debtor 1 and Debtor 2 only                                               Current value of the             Current value of the
             Other information:                                                At least one of the debtors and another                                  entire property?                 portion you own?

                                                                                Check if this is community property (see                                $________________                $________________
                                                                                   instructions)



    If you own or have more than one, list here:
                                                                              Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
    4.2.     Make:       ____________________________

             Model: ____________________________                               Debtor 1 only                                                            the amount of any secured claims on Schedule D:
                                                                                                                                                         Creditors Who Have Claims Secured by Property.
                                                                               Debtor 2 only
             Year:       ____________                                                                                                                    Current value of the             Current value of the
                                                                               Debtor 1 and Debtor 2 only                                               entire property?                 portion you own?
             Other information:                                                At least one of the debtors and another
                                                                                                                                                         $________________                $________________
                                                                                Check if this is community property (see
                                                                                   instructions)




5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages                                                                       1,054.00
                                                                                                                                                                                         $_________________
    you have attached for Part 2. Write that number here ............................................................................................................................




                                                                                                                                                                                                    3      10
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                         Maria Siles                                                                                 Filed 06/02/20                         Page 13 of 63
Debtor 1           _______________________________________________________                                                                   Case number (if known)_____________________________________
                   First Name            Middle Name                  Last Name




Pa rt 3 :       De sc ribe Y our Pe rsona l a nd H ouse hold It e m s

                                                                                                                                                                                                   Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                                                                                                  portion you own?
6. Household goods and furnishings                                                                                                                                                                 Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.
   Examples: Major appliances, furniture, linens, china, kitchenware
                             Sofa, Love Seat, Dining Table, Chairs, , Bed, Dresser, Nightstand, family pictures, kitchenware.
    No                      Client states all furnishings were purchased at salvation army.
   
   ✔ Yes. Describe. ........


                                                                                                                                                                                                      500.00
                                                                                                                                                                                                    $___________________

7. Electronics

   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
             collections; electronic devices including cell phones, cameras, media players, games
    No                      2 color tvs
                             dvr
   
   ✔ Yes. Describe. ........
                             clock radio
                                                                                                                                                                                                      150.00
                                                                                                                                                                                                    $___________________

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
             stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
   
   ✔ No

    Yes. Describe. .........                                                                                                                                                                         0.00
                                                                                                                                                                                                    $___________________

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
             and kayaks; carpentry tools; musical instruments
   
   ✔       No
          Yes. Describe. .........                                                                                                                                                                   0.00
                                                                                                                                                                                                    $___________________

10. Firearms
   Examples: Pistols, rifles, shotguns, ammunition, and related equipment
   
   ✔ No

    Yes. Describe. .........                                                                                                                                                                        0.00
                                                                                                                                                                                                    $___________________

11. Clothes
   Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No                   Everyday clothing (shirts, pants, shoes, etc).
   
   ✔       Yes. Describe. .........                                                                                                                                                                   80.00
                                                                                                                                                                                                    $___________________


12. Jewelry
   Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
             gold, silver
   
   ✔       No
          Yes. Describe. .........                                                                                                                                                                   0.00
                                                                                                                                                                                                    $___________________

13. Non-farm animals
   Examples: Dogs, cats, birds, horses

   
   ✔       No
          Yes. Describe. .........                                                                                                                                                                   0.00
                                                                                                                                                                                                    $___________________

14. Any other personal and household items you did not already list, including any health aids you did not list

   
   ✔       No
          Yes. Give specific                                                                                                                                                                         0.00
                                                                                                                                                                                                    $___________________
           information...............

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                                                                                        730.00
                                                                                                                                                                                                    $______________________
   for Part 3. Write that number here ........................................................................................................................................................ 


                                                                                                                                                                                                                    4      10
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Debtor 1            _______________________________________________________                                                                                        Case number (if known)_____________________________________
                    First Name               Middle Name                        Last Name




Pa rt 4 :     De sc ribe Y our Fina nc ia l Asse t s

Do you own or have any legal or equitable interest in any of the following?                                                                                                                                           Current value of the
                                                                                                                                                                                                                      portion you own?
                                                                                                                                                                                                                      Do not deduct secured claims
                                                                                                                                                                                                                      or exemptions.


16. Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

   
   ✔   No
      Yes .....................................................................................................................................................................      Cash: .......................    $__________________



17. Deposits of money
   Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
             and other similar institutions. If you have multiple accounts with the same institution, list each.
      No
   
   ✔   Yes .....................                 Institution name:


   17.1. Checking account:
                                                 Chase checking ending in 3120                                                        334.57
                                                 ___________________________________________________________________________________ $__________________

   17.2. Checking account:                       ___________________________________________________________________________________ $__________________

   17.3. Savings account:                        ___________________________________________________________________________________ $__________________

   17.4. Savings account:                        ___________________________________________________________________________________ $__________________

   17.5. Certificates of deposit: ___________________________________________________________________________________                                                                                                  $__________________
   17.6. Other financial account: ___________________________________________________________________________________
                                                                                                                                                                                                                       $__________________
   17.7. Other financial account: ___________________________________________________________________________________
                                                                                                                                                                                                                       $__________________
   17.8. Other financial account: ___________________________________________________________________________________
                                                                                                                                                                                                                       $__________________
   17.9. Other financial account: ___________________________________________________________________________________
                                                                                                                                                                                                                       $__________________




18. Bonds, mutual funds, or publicly traded stocks
   Examples: Bond funds, investment accounts with brokerage firms, money market accounts
   
   ✔   No
      Yes ..................
   Institution or issuer name:
                                                                                                                                                                                                                       $__________________
   ___________________________________________________________________________________________________________________
                                                                                                                                                                                                                       $__________________
                                                                                                                                                                                                                       $__________________
   ___________________________________________________________________________________________________________________                                                                                                 $__________________
                                                                                                                                                                                                                       $__________________
   ___________________________________________________________________________________________________________________                                                                                                 $__________________



19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
   an LLC, partnership, and joint venture
   
   ✔ No

    Yes. Give specific
       information about                                                                                                                                                                                               $__________________
       them. ........................
                                                                                                                                                                                                                       $__________________
  Name of entity:                                                                                                                                                                            % of ownership:
                                                                                                                                                                                                                       $__________________
                                                                                                                                                                                                                       $__________________
  _____________________________________________________________________________________________________                                                                                          ___________%
                                                                                                                                                                                                                       $__________________
  _____________________________________________________________________________________________________                                                                                          ___________%

  _____________________________________________________________________________________________________                                                                                          ___________%          $__________________


                                                                                                                                                                                                                                            10
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                                                                                                                                                                                                                                  page ___
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Debtor 1              _______________________________________________________                        Case number (if known)_____________________________________
                      First Name             Middle Name           Last Name




20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
    
    ✔ No

     Yes. Give specific
           information about
           them. ......................
    Issuer name:

    ___________________________________________________________________________________________________________________
                                                                                                                                          $__________________

    ___________________________________________________________________________________________________________________ $__________________

    ________________________________________________________________________________________________________________ $__________________

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
   
   ✔ No

    Yes. List each
           account separately.                 Institution name:
           Type of account:

 401(k) or similar plan:             _________________________________________________________________________________________________    $__________________
                                                                                                                                          $__________________
 Pension plan:                       _________________________________________________________________________________________________ $__________________
                                                                                                                                       $__________________

 IRA:                                _________________________________________________________________________________________________ $__________________
                                                                                                                                       $__________________
 Retirement account:                 _________________________________________________________________________________________________    $___________________
                                                                                                                                          $_________________
 Keogh:                              _________________________________________________________________________________________________ $__________________
                                                                                                                                       $__________________

 Additional account:                 _________________________________________________________________________________________________ $__________________
                                                                                                                                       $__________________
 Additional account:                 _________________________________________________________________________________________________ $__________________
                                                                                                                                       $__________________

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

    
    ✔      No
          Yes ...........................      Institution name or individual:

Electric:                    ____________________________________________________________________________________________________
                                                                                                                                         $___________________

Gas:                         ____________________________________________________________________________________________________        $___________________
                                                                                                                                         $___________________

Heating oil:                 _________________________________________________________________________________________________           $___________________
                                                                                                                                         $___________________

Rental unit:                 ____________________________________________________________________________________________________        $___________________
                                                                                                                                         $___________________

Prepaid rent:                _________________________________________________________________________________________________           $___________________
                                                                                                                                         $___________________

Telephone:                   _________________________________________________________________________________________________           $___________________
                                                                                                                                         $___________________

Water:                       _________________________________________________________________________________________________           $___________________
                                                                                                                                         $___________________

Rented furniture:          ______________________________________________________________________________________________________ $___________________
                                                                                                                                  $___________________

Other:                     ___________________________________________________________________________________________________ $___________________
                                                                                                                               $___________________

                                                                                                                                          $__________________
                                                                                                                                          _
23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

    
    ✔      No
          Yes ...........................    Issuer name and description:
_____________________________________________________________________________________________________________________                    $__________________

_____________________________________________________________________________________________________________________                    $__________________
_____________________________________________________________________________________________________________________                    $__________________
                                                                                                                                         $__________________
                                                                                                                                         $__________________
                                                                                                                                                            10
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Debtor 1             _______________________________________________________                                      Case number (if known)_____________________________________
                      First Name             Middle Name           Last Name




24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
   26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
   
   ✔       No
          Yes .....................................   Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

    ____________________________________________________________________________________________________________________                                    $_________________
    ____________________________________________________________________________________________________________________                                    $_________________
    ____________________________________________________________________________________________________________________                                    $_________________


25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
    exercisable for your benefit

    
    ✔      No
          Yes. Give specific
           information about them. ..                                                                                                                        0.00
                                                                                                                                                            $__________________


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
    
    ✔      No
          Yes. Give specific
           information about them. ..                                                                                                                        0.00
                                                                                                                                                            $__________________


27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

    
    ✔      No
          Yes. Give specific
           information about them. ..                                                                                                                        0.00
                                                                                                                                                            $__________________


Money or property owed to you?                                                                                                                              Current value of the
                                                                                                                                                            portion you own?
                                                                                                                                                            Do not deduct secured
                                                                                                                                                            claims or exemptions.

28. Tax refunds owed to you

   
   ✔       No
          Yes. Give specific information                                                                                         Federal:               0.00
                                                                                                                                                        $_________________
                about them, including whether
                you already filed the returns                                                                                     State:                 0.00
                                                                                                                                                        $_________________
                and the tax years. ......................                                                                                                0.00
                                                                                                                                  Local:                $_________________


29. Family support
   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
   
   ✔       No
          Yes. Give specific information. .............
                                                                                                                                 Alimony:                    0.00
                                                                                                                                                            $________________
                                                                                                                                 Maintenance:                0.00
                                                                                                                                                            $________________
                                                                                                                                 Support:                    0.00
                                                                                                                                                            $________________
                                                                                                                                 Divorce settlement:         0.00
                                                                                                                                                            $________________
                                                                                                                                 Property settlement:        0.00
                                                                                                                                                            $________________

30. Other amounts someone owes you
   Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
             Social Security benefits; unpaid loans you made to someone else
   
   ✔       No
          Yes. Give specific information. ...............
                                                                                                                                                              0.00
                                                                                                                                                            $______________________



                                                                                                                                                                           7     10
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Debtor 1           _______________________________________________________                                                                   Case number (if known)_____________________________________
                   First Name            Middle Name                  Last Name




31. Interests in insurance policies
   Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
   
   ✔       No
          Yes. Name the insurance company             Company name:                                                                             Beneficiary:                                        Surrender or refund value:
                of each policy and list its value. ...
      ____________________________________________________________________________                                                             ____________________________                          $__________________
      ____________________________________________________________________________                                                             ____________________________                          $__________________
      ____________________________________________________________________________                                                               ___________________________                         $__________________

32. Any interest in property that is due you from someone who has died
   If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
   property because someone has died.
   
   ✔       No
          Yes. Give specific information. .............
                                                                                                                                                                                                      0.00
                                                                                                                                                                                                     $_____________________


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
   Examples: Accidents, employment disputes, insurance claims, or rights to sue
   
   ✔       No
          Yes. Describe each claim. .....................
                                                                                                                                                                                                      0.00
                                                                                                                                                                                                     $______________________

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
   to set off claims
   
   ✔       No
          Yes. Describe each claim. .....................
                                                                                                                                                                                                      0.00
                                                                                                                                                                                                     $_____________________




35. Any financial assets you did not already list

   
   ✔       No
          Yes. Give specific information. ...........                                                                                                                                                0.00
                                                                                                                                                                                                     $_____________________



36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
   for Part 4. Write that number here ........................................................................................................................................................       334.57
                                                                                                                                                                                                     $_____________________




Pa rt 5 :        De sc ribe Any Busine ss-Re la t e d Prope rt y Y ou Ow n or H a ve a n I nt e re st I n. List a ny re a l e st a t e in Pa rt 1 .

37. Do you own or have any legal or equitable interest in any business-related property?

   
   ✔       No. Go to Part 6.
          Yes. Go to line 38.
                                                                                                                                                                                                   Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.

38. Accounts receivable or commissions you already earned

          No
          Yes. Describe .......
                                                                                                                                                                                                   $_____________________

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

          No
          Yes. Describe .......                                                                                                                                                                   $_____________________



                                                                                                                                                                                                                         10
                                                                                                                                                                                                                    8 of __
                                                                                                                                                                                                               page ___
                     Isabel Maria Siles
                                               Case 20-16082-AJC                                 Doc 1               Filed 06/02/20                         Page 18 of 63
Debtor 1              _______________________________________________________                                                                Case number (if known)_____________________________________
                      First Name             Middle Name              Last Name




40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

          No
          Yes. Describe .......
                                                                                                                                                                                                   $_____________________


41. Inventory
          No
          Yes. Describe .......                                                                                                                                                                   $_____________________


42. Interests in partnerships or joint ventures

          No
          Yes. Describe ....... Name of entity:                                                                                                                      % of ownership:
                                             ______________________________________________________________________                                                   ________%                    $_____________________
                                             ______________________________________________________________________                                                   ________%                    $_____________________
                                             ______________________________________________________________________                                                   ________%                    $_____________________


43. Customer lists, mailing lists, or other compilations
          No
          Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                        No
                        Yes. Describe.........
                                                                                                                                                                                                   $____________________


44. Any business-related property you did not already list
          No
          Yes. Give specific
                                 ______________________________________________________________________________________                                                                            $____________________
           information .........
                                             ______________________________________________________________________________________                                                                 $____________________

                                             ______________________________________________________________________________________                                                                 $____________________

                                             ______________________________________________________________________________________                                                                 $____________________

                                             ______________________________________________________________________________________                                                                 $____________________

                                             ______________________________________________________________________________________                                                                 $____________________

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached                                                                                      0.00
                                                                                                                                                                                                   $____________________
   for Part 5. Write that number here ........................................................................................................................................................ 




Pa rt 6 :          De sc ribe Any Fa rm - a nd Com m e rc ia l Fishing-Re la t e d Prope rt y You Ow n or H a ve a n I nt e re st In.
                   If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
   
   ✔       No. Go to Part 7.
          Yes. Go to line 47.
                                                                                                                                                                                                   Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.
47. Farm animals
   Examples: Livestock, poultry, farm-raised fish
          No
          Yes ...........................

                                                                                                                                                                                                     $___________________



                                                                                                                                                                                                                        10
                                                                                                                                                                                                                   9 of __
                                                                                                                                                                                                              page ___
                    Isabel           Case 20-16082-AJC Doc 1
                           Maria Siles                                                                                     Filed 06/02/20                          Page 19 of 63
Debtor 1             _______________________________________________________                                                                        Case number (if known)_____________________________________
                      First Name             Middle Name                   Last Name




48. Crops—either growing or harvested

          No
          Yes. Give specific
           information. ............                                                                                                                                                                           $___________________

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
          No
          Yes ...........................
                                                                                                                                                                                                               $___________________

50. Farm and fishing supplies, chemicals, and feed

          No
          Yes ...........................
                                                                                                                                                                                                               $___________________

51. Any farm- and commercial fishing-related property you did not already list
          No
          Yes. Give specific
           information. ............                                                                                                                                                                           $___________________

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached                                                                                                  0.00
                                                                                                                                                                                                               $___________________
     for Part 6. Write that number here ........................................................................................................................................................ 



Pa rt 7 :           De sc ribe All Prope rt y Y ou Ow n or H a ve a n I nt e re st in T ha t Y ou Did N ot List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

     
     ✔     No
          Yes. Give specific
           information. ............




54. Add the dollar value of all of your entries from Part 7. Write that number here ................................................................... 
                                                                                                                                                                                                                  0.00
                                                                                                                                                                                                                 $________________




Pa rt 8 :           List t he T ot a ls of Ea c h Pa rt of t his Form


55. Part 1: Total real estate, line 2 ....................................................................................................................................................................
                                                                                                                                                                                                                215,764.00
                                                                                                                                                                                                               $________________

56. Part 2: Total vehicles, line 5                                                                                    1,054.00
                                                                                                                     $________________

57. Part 3: Total personal and household items, line 15                                                               730.00
                                                                                                                     $________________

58. Part 4: Total financial assets, line 36                                                                           334.57
                                                                                                                     $________________

59. Part 5: Total business-related property, line 45                                                                  0.00
                                                                                                                     $________________

60. Part 6: Total farm- and fishing-related property, line 52                                                         0.00
                                                                                                                     $________________

61. Part 7: Total other property not listed, line 54                                                               0.00
                                                                                                                + $________________
62. Total personal property. Add lines 56 through 61. ...................                                             2,118.57
                                                                                                                     $________________ Copy personal property total                                              2,118.57
                                                                                                                                                                                                              + $_________________


63. Total of all property on Schedule A/B. Add line 55 + line 62. .......................................................................................                                                       217,882.57
                                                                                                                                                                                                               $_________________



                                                                                                                                                                                                                                  10
                                                                                                                                                                                                                            10 of __
                                                                                                                                                                                                                       page ___
                                  Case 20-16082-AJC                 Doc 1             Filed 06/02/20              Page 20 of 63

 Fill in this information to identify your case:

                     Isabel Maria Siles
 Debtor 1          __________________________________________________________________
                     First Name             Middle Name               Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name             Middle Name               Last Name


                                         ______________________
 United States Bankruptcy Court for the: Southern District of Florida District of __________
                                                                                   (State)
 Case number
  (If known)
                     ___________________________________________                                                                                   Check if this is an
                                                                                                                                                       amended filing


Official Form 106C
Sche dule C: T he Prope r t y You Cla im a s Exe m pt                                                                                                              4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Pa rt 1 :       I de nt ify the Prope rt y You Cla im a s Ex e mpt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
     
     ✔ You are claiming state and federal nonbankruptcy exemptions.               11 U.S.C. § 522(b)(3)
      You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on      Current value of the                      Amount of the                  Specific laws that allow exemption
       Schedule A/B that lists this property              portion you own                           exemption you claim

                                                          Copy the value from                       Check only one box
                                                          Schedule A/B                              for each exemption
                 14249 SW 296 Street                                                                                               Fla. Const. Art. 10, sec. 4(a)(1)
 Brief
 description:
                                                                  215,764.00
                                                                 $________________              190,536.00
                                                                                             ✔ $ ____________

                                                                                               100% of fair market value, up to
 Line from                                                                                        any applicable statutory limit
 Schedule A/B:        1.1
                 2004 Ford Freestar                                                                                                Fla. Stat. Ann. § 222.25 (1)
 Brief
 description:
                                                                   1,054.00
                                                                 $________________            $ ____________
                                                                                              ✔  1,000.00
                                                                                               100% of fair market value, up to
 Line from                                                                                        any applicable statutory limit
 Schedule A/B:         3.1
                 2004 Ford Freestar                                                                                                In re Hawkins, 51 B.R. 348 (S.D. Fla.
 Brief
 description:
                                                                   1,054.00
                                                                 $________________              54.00
                                                                                             ✔ $ ____________                      1985) Fla. Const. Art.10, § 4(a) (2)

                                                                                               100% of fair market value, up to
 Line from                                                                                        any applicable statutory limit
 Schedule A/B:           3.1

 3. Are you claiming a homestead exemption of more than $170,350?
     (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

          No
     
     ✔     Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes



Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                                                 2
                                                                                                                                                             page 1 of __
                              Case 20-16082-AJC Doc 1 Filed 06/02/20 Page 21 of 63
Debtor           Isabel Maria Siles
                _______________________________________________________ Case number (if known)_____________________________________
                First Name      Middle Name            Last Name




 Pa rt 2 :     Addit iona l Pa ge

            description of the property and line
         Brief                                                                                    Amount of the                       Specific laws that allow exemption
                                                                           Current value of the   exemption you claim
         on Schedule A/B that lists this property                          portion you own
                                                                          Copy the value from    Check only one box
                                                                           Schedule A/B           for each exemption
               Household goods - Sofa, Love Seat, Dining Table,                                                                        In re Hawkins, 51 B.R. 348 (S.D. Fla.
Brief        Chairs, , Bed, Dresser, Nightstand, family pictures,                                                                      1985) Fla. Const. Art.10, § 4(a) (2)
description: kitchenware.
                                                                            500.00
                                                                           $________________         500.00
                                                                                                  ✔ $ ____________
               Client states all furnishings were purchased at salvation                           100% of fair market value, up to
Line from army.                                                                                      any applicable statutory limit
Schedule A/B:   6
               Electronics - 2 color tvs                                                                                               In re Hawkins, 51 B.R. 348 (S.D. Fla.
Brief        dvr
description: clock radio                                                   $________________
                                                                            150.00                
                                                                                                  ✔ $ ____________
                                                                                                      150.00                           1985) Fla. Const. Art.10, § 4(a) (2)
                                                                                                   100% of fair market value, up to
                                                                                                     any applicable statutory limit
Line from
Schedule A/B:         7
               Clothing - Everyday clothing (shirts, pants, shoes, etc).                                                               In re Hawkins, 51 B.R. 348 (S.D. Fla.
Brief                                                                                                                                  1985) Fla. Const. Art.10, § 4(a) (2)
description:                                                               $________________
                                                                            80.00                 
                                                                                                  ✔ $ ____________
                                                                                                      80.00
                                                                                                   100% of fair market value, up to
Line from                                                                                            any applicable statutory limit
Schedule A/B:        11
               Chase checking ending in 3120 (Checking)                                                                                In re Hawkins, 51 B.R. 348 (S.D. Fla.
Brief                                                                                                                                  1985) Fla. Const. Art.10, § 4(a) (2)
description:
                                                                            334.57
                                                                           $________________         216.00
                                                                                                  ✔ $ ____________

                                                                                                   100% of fair market value, up to
Line from                                                                                            any applicable statutory limit
Schedule A/B:           17.1

Brief
description:                                                               $________________       $ ____________
                                                                                                   100% of fair market value, up to
Line from                                                                                            any applicable statutory limit
Schedule A/B:
Brief
description:                                                               $________________       $ ____________
                                                                                                   100% of fair market value, up to
Line from                                                                                            any applicable statutory limit
Schedule A/B:
Brief
description:                                                               $________________       $ ____________
                                                                                                   100% of fair market value, up to
Line from                                                                                            any applicable statutory limit
Schedule A/B:
Brief
description:                                                               $________________       $ ____________
                                                                                                   100% of fair market value, up to
                                                                                                     any applicable statutory limit
Line from
Schedule A/B:
Brief
description:                                                               $________________       $ ____________
                                                                                                   100% of fair market value, up to
Line from                                                                                            any applicable statutory limit
Schedule A/B:
Brief
description:                                                               $________________       $ ____________
                                                                                                   100% of fair market value, up to
Line from                                                                                            any applicable statutory limit
Schedule A/B:
Brief
description:                                                               $________________       $ ____________
                                                                                                   100% of fair market value, up to
                                                                                                     any applicable statutory limit
Line from
Schedule A/B:
Brief
description:                                                               $________________       $ ____________
                                                                                                   100% of fair market value, up to
Line from                                                                                            any applicable statutory limit
Schedule A/B:


 Official Form 106C                                          Schedule C: The Property You Claim as Exempt                                                      2
                                                                                                                                                        page ___ of __ 2
                                     Case 20-16082-AJC                         Doc 1            Filed 06/02/20             Page 22 of 63

 Fill in this information to identify your case:

                    Isabel Maria Siles
 Debtor 1          __________________________________________________________________
                     First Name                   Middle Name                  Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                   Middle Name                  Last Name


                                         ______________________
 United States Bankruptcy Court for the: Southern District of Florida District of __________
                                                                                           (State)
 Case number         ___________________________________________
 (If known)                                                                                                                                             Check if this is an
                                                                                                                                                           amended filing


Official Form 106D
Sc he dule D: Cre dit ors Who H a ve Cla im s Se c ure d by Prope rt y                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
    
    ✔       Yes. Fill in all of the information below.


Pa rt 1 :       List All Se c ure d Cla im s
                                                                                                                           Column A             Column B              Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately Amount of claim                         Value of collateral   Unsecured
   for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. Do not deduct the                      that supports this    portion
   As much as possible, list the claims in alphabetical order according to the creditor’s name.          value of collateral.                   claim                 If any

2.1 Central Loan Admin & R                                 Describe the property that secures the claim:                   $_________________
                                                                                                                             25,228.00        $________________
                                                                                                                                                 215,764.00     $____________
                                                                                                                                                                  25,228.00
     ______________________________________                14249 SW 296 Street, Homestead, FL 33033 - $215,764.00
     Creditor’s Name
      425 Phillips Blvd
     ______________________________________
     Number            Street

     ______________________________________                As of the date you file, the claim is: Check all that apply.
      Ewing                 NJ 08618
     ______________________________________
                                                               Contingent
     City                          State   ZIP Code            Unliquidated
  Who owes the debt? Check one.                                Disputed
  ✔    Debtor 1 only                                      Nature of lien. Check all that apply.
       Debtor 2 only
                                                               An agreement you made (such as mortgage or secured
       Debtor 1 and Debtor 2 only                              car loan)
       At least one of the debtors and another                Statutory lien (such as tax lien, mechanic’s lien)

    Check if this claim relates to a
                                                               Judgment lien from a lawsuit
     community debt                                            Other (including a right to offset) ____________________
                            1998
  Date debt was incurred ____________                      Last 4 digits of account number           4548
2.2 Citimortgage Inc                                       Describe the property that secures the claim:                   $_________________
                                                                                                                             252,280.00       $________________
                                                                                                                                                 215,764.00     $____________
                                                                                                                                                                  36,516.00
     ______________________________________                14249 SW 296 Street, Homestead, FL 33033 - $215,764.00
     Creditor’s Name
     Po Box 9438
     ______________________________________
     Number            Street

     ______________________________________
                                                           As of the date you file, the claim is: Check all that apply.
      Gaithersburg          MD
     ______________________________________
                                           20898               Contingent
     City                          State   ZIP Code            Unliquidated
  Who owes the debt? Check one.                                Disputed
       Debtor 1 only                                      Nature of lien. Check all that apply.
       Debtor 2 only
                                                               An agreement you made (such as mortgage or secured
       Debtor 1 and Debtor 2 only                              car loan)
       At least one of the debtors and another                Statutory lien (such as tax lien, mechanic’s lien)

    Check if this claim relates to a                          Judgment lien from a lawsuit
     community debt                                            Other (including a right to offset) ____________________
                            1998
  Date debt was incurred ____________                      Last 4 digits of account number           0122
       Add the dollar value of your entries in Column A on this page. Write that number here:                                277,508.00
                                                                                                                           $_________________


   Official Form 106D                              Schedule D: Creditors Who Have Claims Secured by Property                                                 page 1 of ___
                                                                                                                                                                        1
                               Case 20-16082-AJC                  Doc 1        Filed 06/02/20            Page 23 of 63
              Isabel Maria Siles
Debtor 1       _______________________________________________________                          Case number (if known)_____________________________________
              First Name     Middle Name        Last Name


  Pa rt 2 :    List Ot he rs t o Be N ot ifie d for a De bt T ha t You Alre a dy List e d

  Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
  agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if
  you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to
  be notified for any debts in Part 1, do not fill out or submit this page.

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________                Last 4 digits of account number
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________                Last 4 digits of account number
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________                Last 4 digits of account number
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code
                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________                Last 4 digits of account number
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________                Last 4 digits of account number
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________                Last 4 digits of account number
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code


  Official Form 106D                       Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                               page ___
                                                                                                                                                   1 of ___
                                                                                                                                                        1
                                          Case 20-16082-AJC                    Doc 1            Filed 06/02/20             Page 24 of 63
  Fill in this information to identify your case:

                           Isabel Maria Siles
      Debtor 1           __________________________________________________________________
                          First Name                    Middle Name              Last Name

      Debtor 2            ________________________________________________________________
      (Spouse, if filing) First Name                    Middle Name              Last Name


      United States Bankruptcy Court for the: ______________________
                                              Southern District of Florida District of __________
                                                                                             (State)
      Case number         ___________________________________________
                                                                                                                                                         Check if this is an
      (If known)                                                                                                                                            amended filing


 Official Form 106E/F
 Sc he dule E/F: Cre dit ors Who Ha ve U nse c ure d Cla im s                                                                                                         12/15

 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
 List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
 A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
 creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
 needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
 any additional pages, write your name and case number (if known).

 Pa rt 1 :             List All of Y our PRIORI T Y Unse c ure d Cla im s

 1. Do any creditors have priority unsecured claims against you?
         
         ✔ No. Go to Part 2.

          Yes.
 2.      List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
         each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
         nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority
         unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
         (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                        Total claim    Priority     Nonpriority
                                                                                                                                                       amount       amount
2.1
                                                                        Last 4 digits of account number                            $_____________ $___________ $____________
           ____________________________________________
           Priority Creditor’s Name
                                                                        When was the debt incurred?          ____________
           ____________________________________________
           Number            Street
           ____________________________________________                 As of the date you file, the claim is: Check all that apply.
           ____________________________________________                    Contingent
           City                                 State    ZIP Code
                                                                           Unliquidated
           Who incurred the debt? Check one.                               Disputed
                 Debtor 1 only                                         Type of PRIORITY unsecured claim:
                 Debtor 2 only                                            Domestic support obligations
                 Debtor 1 and Debtor 2 only                               Taxes and certain other debts you owe the government
                 At least one of the debtors and another
                                                                           Claims for death or personal injury while you were
                 Check if this claim is for a community debt               intoxicated
                                                                           Other. Specify
           Is the claim subject to offset?
                 No
                 Yes
2.2
                                                                        Last 4 digits of account number                                $_____________ $___________ $____________
            ____________________________________________
            Priority Creditor’s Name                                    When was the debt incurred?          ____________
            ____________________________________________
            Number           Street                                     As of the date you file, the claim is: Check all that apply.
            ____________________________________________                   Contingent
            ____________________________________________                   Unliquidated
            City                                State    ZIP Code
                                                                           Disputed
            Who incurred the debt? Check one.
                  Debtor 1 only                                        Type of PRIORITY unsecured claim:
                  Debtor 2 only                                           Domestic support obligations
                  Debtor 1 and Debtor 2 only                              Taxes and certain other debts you owe the government
                  At least one of the debtors and another
                                                                           Claims for death or personal injury while you were
                  Check if this claim is for a community debt              intoxicated
                                                                           Other. Specify
           Is the claim subject to offset?
                  No
                  Yes

 Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                                            page 1 of ___
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                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

          Best Buy/Cbna                                                                                                                                               Total claim
4.1
                                                                                            Last 4 digits of account number       6402
         _____________________________________________________________                                                                                                1,185.00
                                                                                                                                                                    $__________________
         Nonpriority Creditor’s Name
                                                                                            When was the debt incurred?           2017
                                                                                                                                  ____________
          50 Northwest Point Road
         _____________________________________________________________
         Number            Street

         _______________________________________________________________________
                                                                                            As of the date you file, the claim is: Check all that apply.
         Elk Grove Village                   IL       60007
         _____________________________________________________________                         Contingent
         City                                             State          ZIP Code
                                                                                               Unliquidated
         Who incurred the debt? Check one.                                                     Disputed
         
         ✔      Debtor 1 only
                                                                                            Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only                                                     Student loans
               At least one of the debtors and another                                        Obligations arising out of a separation agreement or divorce
                                                                                                that you did not report as priority claims
               Check if this claim is for a community debt                                    Debts to pension or profit-sharing plans, and other similar debts

         Is the claim subject to offset?
                                                                                            
                                                                                            ✔   Other. Specify

         
         ✔      No
               Yes
4.2
         Capital One Bank Usa N                                                             Last 4 digits of account number       ****                               0.00
                                                                                                                                                                    $__________________
         _____________________________________________________________                      When was the debt incurred?           ____________
                                                                                                                                  2013
         Nonpriority Creditor’s Name
         15000 Capital One Dr
         _____________________________________________________________
         Number            Street
                                                                                            As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
          Richmond                                        VA
                                                      23238
                                                                                               Contingent
         _____________________________________________________________                         Unliquidated
         City                                             State          ZIP Code
         Who incurred the debt? Check one.                                                     Disputed
         
         ✔      Debtor 1 only
                                                                                            Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                               Student loans
               Debtor 1 and Debtor 2 only
                                                                                               Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                         that you did not report as priority claims

               Check if this claim is for a community debt
                                                                                               Debts to pension or profit-sharing plans, and other similar debts
                                                                                            
                                                                                            ✔   Other. Specify
         Is the claim subject to offset?
         
         ✔      No
               Yes
          Capital One Bank Usa N
4.3
                                                                                            Last 4 digits of account number       ****
         _____________________________________________________________                                                                                               2,288.00
                                                                                                                                                                    $_________________
         Nonpriority Creditor’s Name                                                        When was the debt incurred?           2016
                                                                                                                                  ____________
         15000 Capital One Dr
         _____________________________________________________________
         Number            Street

         _______________________________________________________________________
                                                                                            As of the date you file, the claim is: Check all that apply.
         Richmond                            VA       23238
         _____________________________________________________________                         Contingent
         City                                             State          ZIP Code
         Who incurred the debt? Check one.                                                     Unliquidated

         
         ✔      Debtor 1 only
                                                                                               Disputed

               Debtor 2 only                                                               Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                     Student loans
               At least one of the debtors and another                                        Obligations arising out of a separation agreement or divorce
                                                                                                that you did not report as priority claims
               Check if this claim is for a community debt                                    Debts to pension or profit-sharing plans, and other similar debts

         Is the claim subject to offset?                                                    
                                                                                            ✔   Other. Specify

         
         ✔ No

               Yes


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                     First Name       Middle Name             Last Name


 Pa rt 2 :          List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
       No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      
      ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                                        Total claim
4.4     Capital One/Best Buy
       _____________________________________________________________                          Last 4 digits of account number       ****
       Nonpriority Creditor’s Name                                                                                                                                      0.00
                                                                                                                                                                      $__________________
        Po Box 5253                                                                           When was the debt incurred?           2005
                                                                                                                                    ____________
       _____________________________________________________________
       Number             Street

       _______________________________________________________________________
                                                                                              As of the date you file, the claim is: Check all that apply.
        Carol Stream                                     IL
       _____________________________________________________________
                                                                          60197
       City                                              State            ZIP Code               Contingent
                                                                                                 Unliquidated
       Who incurred the debt? Check one.
                                                                                                 Disputed
       
       ✔       Debtor 1 only
                                                                                              Type of NONPRIORITY unsecured claim:
              Debtor 2 only
                                                                                                 Student loans
              Debtor 1 and Debtor 2 only
                                                                                                 Obligations arising out of a separation agreement or divorce
              At least one of the debtors and another                                            that you did not report as priority claims

              Check if this claim is for a community debt                                       Debts to pension or profit-sharing plans, and other similar debts
                                                                                              
                                                                                              ✔   Other. Specify
       Is the claim subject to offset?
       
       ✔       No
              Yes
4.5     Cbna                                                                                  Last 4 digits of account number       1967                               0.00
                                                                                                                                                                      $__________________
       _____________________________________________________________                          When was the debt incurred?           ____________
                                                                                                                                    2006
       Nonpriority Creditor’s Name
        Po Box 6497
       _____________________________________________________________
       Number              Street
                                                                                              As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Sioux Falls                         SD       57117-6497                                   Contingent
       _____________________________________________________________
       City                                              State            ZIP Code               Unliquidated
       Who incurred the debt? Check one.                                                         Disputed
       
       ✔       Debtor 1 only
                                                                                              Type of NONPRIORITY unsecured claim:
              Debtor 2 only
              Debtor 1 and Debtor 2 only
                                                                                                 Student loans

              At least one of the debtors and another
                                                                                                 Obligations arising out of a separation agreement or divorce
                                                                                                  that you did not report as priority claims
              Check if this claim is for a community debt                                       Debts to pension or profit-sharing plans, and other similar debts
                                                                                              
                                                                                              ✔   Other. Specify
       Is the claim subject to offset?
       
       ✔       No
              Yes
4.6     Comenitycb/Bjsclub                                                                    Last 4 digits of account number       8661
        _____________________________________________________________                                                                                                  1,932.00
                                                                                                                                                                      $_________________
        Nonpriority Creditor’s Name                                                           When was the debt incurred?           2017
                                                                                                                                    ____________
        Po Box 182120
        _____________________________________________________________
        Number             Street
                                                                                              As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Columbus                            OH       43218
        _____________________________________________________________                            Contingent
        City                                             State             ZIP Code
        Who incurred the debt? Check one.                                                        Unliquidated

       
       ✔       Debtor 1 only
                                                                                                 Disputed

              Debtor 2 only                                                                  Type of NONPRIORITY unsecured claim:
              Debtor 1 and Debtor 2 only                                                        Student loans
              At least one of the debtors and another                                           Obligations arising out of a separation agreement or divorce
                                                                                                  that you did not report as priority claims
              Check if this claim is for a community debt                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                        
                                                                                              ✔   Other. Specify
       
       ✔       No
              Yes


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                     First Name       Middle Name           Last Name


 Pa rt 2 :          List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
       No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      
      ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                                      Total claim
4.7     Credit First N A
       _____________________________________________________________                        Last 4 digits of account number       4***
       Nonpriority Creditor’s Name                                                                                                                                    785.00
                                                                                                                                                                    $__________________
        6275 Eastland Rd                                                                    When was the debt incurred?           2017
                                                                                                                                  ____________
       _____________________________________________________________
       Number             Street

       _______________________________________________________________________
                                                                                            As of the date you file, the claim is: Check all that apply.
        Brookpark                                        OH
       _____________________________________________________________
                                                                        44142
       City                                              State          ZIP Code               Contingent
                                                                                               Unliquidated
       Who incurred the debt? Check one.
                                                                                               Disputed
       
       ✔       Debtor 1 only
                                                                                            Type of NONPRIORITY unsecured claim:
              Debtor 2 only
                                                                                               Student loans
              Debtor 1 and Debtor 2 only
                                                                                               Obligations arising out of a separation agreement or divorce
              At least one of the debtors and another                                          that you did not report as priority claims

              Check if this claim is for a community debt                                     Debts to pension or profit-sharing plans, and other similar debts
                                                                                            
                                                                                            ✔   Other. Specify
       Is the claim subject to offset?
       
       ✔       No
              Yes
4.8     Credit First N A                                                                    Last 4 digits of account number       0***                               0.00
                                                                                                                                                                    $__________________
       _____________________________________________________________                        When was the debt incurred?           ____________
                                                                                                                                  2011
       Nonpriority Creditor’s Name
        6275 Eastland Rd
       _____________________________________________________________
       Number              Street
                                                                                            As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Brookpark                           OH       44142                                      Contingent
       _____________________________________________________________
       City                                              State          ZIP Code               Unliquidated
       Who incurred the debt? Check one.                                                       Disputed
       
       ✔       Debtor 1 only
                                                                                            Type of NONPRIORITY unsecured claim:
              Debtor 2 only
              Debtor 1 and Debtor 2 only
                                                                                               Student loans

              At least one of the debtors and another
                                                                                               Obligations arising out of a separation agreement or divorce
                                                                                                that you did not report as priority claims
              Check if this claim is for a community debt                                     Debts to pension or profit-sharing plans, and other similar debts
                                                                                            
                                                                                            ✔   Other. Specify
       Is the claim subject to offset?
       
       ✔       No
              Yes
4.9     Dsnb Macys                                                                          Last 4 digits of account number       ****
        _____________________________________________________________                                                                                                0.00
                                                                                                                                                                    $_________________
        Nonpriority Creditor’s Name                                                         When was the debt incurred?           1999
                                                                                                                                  ____________

        _____________________________________________________________
        Number             Street
                                                                                            As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________

        _____________________________________________________________                          Contingent
        City                                             State           ZIP Code
        Who incurred the debt? Check one.                                                      Unliquidated

       
       ✔       Debtor 1 only
                                                                                               Disputed

              Debtor 2 only                                                                Type of NONPRIORITY unsecured claim:
              Debtor 1 and Debtor 2 only                                                      Student loans
              At least one of the debtors and another                                         Obligations arising out of a separation agreement or divorce
                                                                                                that you did not report as priority claims
              Check if this claim is for a community debt                                     Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                      
                                                                                            ✔   Other. Specify
       
       ✔       No
              Yes


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                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                      Total claim
4.10 Greenskycr                                                                                                                   5619
        _____________________________________________________________                       Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                                   1,750.00
                                                                                                                                                                    $__________________
                                                                                            When was the debt incurred?           2020
                                                                                                                                  ____________
        _____________________________________________________________
        Number             Street

        _______________________________________________________________________
                                                                                            As of the date you file, the claim is: Check all that apply.
        _____________________________________________________________
        City                                              State          ZIP Code              Contingent
                                                                                               Unliquidated
        Who incurred the debt? Check one.
                                                                                               Disputed
        
        ✔       Debtor 1 only
                                                                                            Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                               Student loans
               Debtor 1 and Debtor 2 only
                                                                                               Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                         that you did not report as priority claims

               Check if this claim is for a community debt                                    Debts to pension or profit-sharing plans, and other similar debts
                                                                                            
                                                                                            ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.11 Jpmcb Card                                                                             Last 4 digits of account number       ****                               2,255.00
                                                                                                                                                                    $__________________
        _____________________________________________________________                       When was the debt incurred?           ____________
                                                                                                                                  2018
        Nonpriority Creditor’s Name
         Po Box 15369
        _____________________________________________________________
        Number              Street
                                                                                            As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Wilmington                          DE       19850                                     Contingent
        _____________________________________________________________
        City                                              State          ZIP Code              Unliquidated
        Who incurred the debt? Check one.                                                      Disputed
        
        ✔       Debtor 1 only
                                                                                            Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                               Student loans

               At least one of the debtors and another
                                                                                               Obligations arising out of a separation agreement or divorce
                                                                                                that you did not report as priority claims
               Check if this claim is for a community debt                                    Debts to pension or profit-sharing plans, and other similar debts
                                                                                            
                                                                                            ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.12     Jpmcb Card                                                                         Last 4 digits of account number       ****
         _____________________________________________________________                                                                                               1,220.00
                                                                                                                                                                    $_________________
         Nonpriority Creditor’s Name                                                        When was the debt incurred?           2018
                                                                                                                                  ____________
         Po Box 15369
         _____________________________________________________________
         Number             Street
                                                                                            As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Wilmington                          DE       19850
         _____________________________________________________________                         Contingent
         City                                             State          ZIP Code
         Who incurred the debt? Check one.                                                     Unliquidated

        
        ✔       Debtor 1 only
                                                                                               Disputed

               Debtor 2 only                                                               Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                     Student loans
               At least one of the debtors and another                                        Obligations arising out of a separation agreement or divorce
                                                                                                that you did not report as priority claims
               Check if this claim is for a community debt                                    Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                     
                                                                                            ✔   Other. Specify
        
        ✔       No
               Yes


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                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                       Total claim
4.13 Kohls/Capone                                                                                                                  2817
        _____________________________________________________________                        Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                                    0.00
                                                                                                                                                                     $__________________
         N56 Ridgewood Dr                                                                    When was the debt incurred?           2008
                                                                                                                                   ____________
        _____________________________________________________________
        Number             Street

        _______________________________________________________________________
                                                                                             As of the date you file, the claim is: Check all that apply.
         Menomonee Fal                                    WI
        _____________________________________________________________
                                                                         53051
        City                                              State          ZIP Code               Contingent
                                                                                                Unliquidated
        Who incurred the debt? Check one.
                                                                                                Disputed
        
        ✔       Debtor 1 only
                                                                                             Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                                Student loans
               Debtor 1 and Debtor 2 only
                                                                                                Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                          that you did not report as priority claims

               Check if this claim is for a community debt                                     Debts to pension or profit-sharing plans, and other similar debts
                                                                                             
                                                                                             ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.14 Sears/Cbna                                                                              Last 4 digits of account number       ****                               0.00
                                                                                                                                                                     $__________________
        _____________________________________________________________                        When was the debt incurred?           ____________
                                                                                                                                   2000
        Nonpriority Creditor’s Name
         Po Box 6217
        _____________________________________________________________
        Number              Street
                                                                                             As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Sioux Falls                         SD       57117                                      Contingent
        _____________________________________________________________
        City                                              State          ZIP Code               Unliquidated
        Who incurred the debt? Check one.                                                       Disputed
        
        ✔       Debtor 1 only
                                                                                             Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                                Student loans

               At least one of the debtors and another
                                                                                                Obligations arising out of a separation agreement or divorce
                                                                                                 that you did not report as priority claims
               Check if this claim is for a community debt                                     Debts to pension or profit-sharing plans, and other similar debts
                                                                                             
                                                                                             ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.15     Syncb/Bmrt                                                                          Last 4 digits of account number       ****
         _____________________________________________________________                                                                                                0.00
                                                                                                                                                                     $_________________
         Nonpriority Creditor’s Name                                                         When was the debt incurred?           2006
                                                                                                                                   ____________
         C/O P.O. Box 965036
         _____________________________________________________________
         Number             Street
                                                                                             As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Orlando                             FL       32896-5036
         _____________________________________________________________                          Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                                      Unliquidated

        
        ✔       Debtor 1 only
                                                                                                Disputed

               Debtor 2 only                                                                Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                      Student loans
               At least one of the debtors and another                                         Obligations arising out of a separation agreement or divorce
                                                                                                 that you did not report as priority claims
               Check if this claim is for a community debt                                     Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                      
                                                                                             ✔   Other. Specify
        
        ✔       No
               Yes


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                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                       Total claim
4.16 Syncb/Brandsmart                                                                                                              ****
        _____________________________________________________________                        Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                                    1,279.00
                                                                                                                                                                     $__________________
         Po Box 965036                                                                       When was the debt incurred?           2016
                                                                                                                                   ____________
        _____________________________________________________________
        Number             Street

        _______________________________________________________________________
                                                                                             As of the date you file, the claim is: Check all that apply.
         Orlando                                          FL
        _____________________________________________________________
                                                                         32896
        City                                              State          ZIP Code               Contingent
                                                                                                Unliquidated
        Who incurred the debt? Check one.
                                                                                                Disputed
        
        ✔       Debtor 1 only
                                                                                             Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                                Student loans
               Debtor 1 and Debtor 2 only
                                                                                                Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                          that you did not report as priority claims

               Check if this claim is for a community debt                                     Debts to pension or profit-sharing plans, and other similar debts
                                                                                             
                                                                                             ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.17 Syncb/Care Credit                                                                       Last 4 digits of account number       2800                               562.00
                                                                                                                                                                     $__________________
        _____________________________________________________________                        When was the debt incurred?           ____________
                                                                                                                                   2019
        Nonpriority Creditor’s Name
         950 Forrer Blvd
        _____________________________________________________________
        Number              Street
                                                                                             As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Kettering                           OH       45420                                      Contingent
        _____________________________________________________________
        City                                              State          ZIP Code               Unliquidated
        Who incurred the debt? Check one.                                                       Disputed
        
        ✔       Debtor 1 only
                                                                                             Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                                Student loans

               At least one of the debtors and another
                                                                                                Obligations arising out of a separation agreement or divorce
                                                                                                 that you did not report as priority claims
               Check if this claim is for a community debt                                     Debts to pension or profit-sharing plans, and other similar debts
                                                                                             
                                                                                             ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.18     Syncb/Jcp Dc                                                                        Last 4 digits of account number       ****
         _____________________________________________________________                                                                                                0.00
                                                                                                                                                                     $_________________
         Nonpriority Creditor’s Name                                                         When was the debt incurred?           2006
                                                                                                                                   ____________
         Po Box 965007
         _____________________________________________________________
         Number             Street
                                                                                             As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Orlando                             FL       32896
         _____________________________________________________________                          Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                                      Unliquidated

        
        ✔       Debtor 1 only
                                                                                                Disputed

               Debtor 2 only                                                                Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                      Student loans
               At least one of the debtors and another                                         Obligations arising out of a separation agreement or divorce
                                                                                                 that you did not report as priority claims
               Check if this claim is for a community debt                                     Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                      
                                                                                             ✔   Other. Specify
        
        ✔       No
               Yes


   Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                            page __
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                                                                                                                                                                                      11
                                      Case
                       Isabel Maria Siles            20-16082-AJC                    Doc 1    Filed 06/02/20                Page 31 of 63
 Debtor 1             _______________________________________________________                                     Case number (if known)_____________________________________
                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                       Total claim
4.19 Syncb/Jc Penney Dc                                                                                                            ****
        _____________________________________________________________                        Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                                    1,157.00
                                                                                                                                                                     $__________________
         Po Box 965007                                                                       When was the debt incurred?           2006
                                                                                                                                   ____________
        _____________________________________________________________
        Number             Street

        _______________________________________________________________________
                                                                                             As of the date you file, the claim is: Check all that apply.
         Orlando                                          FL
        _____________________________________________________________
                                                                         32896
        City                                              State          ZIP Code               Contingent
                                                                                                Unliquidated
        Who incurred the debt? Check one.
                                                                                                Disputed
        
        ✔       Debtor 1 only
                                                                                             Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                                Student loans
               Debtor 1 and Debtor 2 only
                                                                                                Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                          that you did not report as priority claims

               Check if this claim is for a community debt                                     Debts to pension or profit-sharing plans, and other similar debts
                                                                                             
                                                                                             ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.20 Syncb/Lowes                                                                             Last 4 digits of account number       ****                               522.00
                                                                                                                                                                     $__________________
        _____________________________________________________________                        When was the debt incurred?           ____________
                                                                                                                                   2017
        Nonpriority Creditor’s Name
         Po Box 965005
        _____________________________________________________________
        Number              Street
                                                                                             As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Orlando                             FL       32896                                      Contingent
        _____________________________________________________________
        City                                              State          ZIP Code               Unliquidated
        Who incurred the debt? Check one.                                                       Disputed
        
        ✔       Debtor 1 only
                                                                                             Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                                Student loans

               At least one of the debtors and another
                                                                                                Obligations arising out of a separation agreement or divorce
                                                                                                 that you did not report as priority claims
               Check if this claim is for a community debt                                     Debts to pension or profit-sharing plans, and other similar debts
                                                                                             
                                                                                             ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.21     Syncb/Rooms To Go                                                                   Last 4 digits of account number       ****
         _____________________________________________________________                                                                                                383.00
                                                                                                                                                                     $_________________
         Nonpriority Creditor’s Name                                                         When was the debt incurred?           2018
                                                                                                                                   ____________
         Po Box 965036
         _____________________________________________________________
         Number             Street
                                                                                             As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Orlando                             FL       32896
         _____________________________________________________________                          Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                                      Unliquidated

        
        ✔       Debtor 1 only
                                                                                                Disputed

               Debtor 2 only                                                                Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                      Student loans
               At least one of the debtors and another                                         Obligations arising out of a separation agreement or divorce
                                                                                                 that you did not report as priority claims
               Check if this claim is for a community debt                                     Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                      
                                                                                             ✔   Other. Specify
        
        ✔       No
               Yes


   Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                            page __
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                                                                                                                                                                                      11
                                      Case
                       Isabel Maria Siles            20-16082-AJC                   Doc 1    Filed 06/02/20                Page 32 of 63
 Debtor 1             _______________________________________________________                                    Case number (if known)_____________________________________
                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                      Total claim
4.22 Syncb/Tjx                                                                                                                    3215
        _____________________________________________________________                       Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                                   0.00
                                                                                                                                                                    $__________________
                                                                                            When was the debt incurred?           2018
                                                                                                                                  ____________
        _____________________________________________________________
        Number             Street

        _______________________________________________________________________
                                                                                            As of the date you file, the claim is: Check all that apply.
        _____________________________________________________________
        City                                              State          ZIP Code              Contingent
                                                                                               Unliquidated
        Who incurred the debt? Check one.
                                                                                               Disputed
        
        ✔       Debtor 1 only
                                                                                            Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                               Student loans
               Debtor 1 and Debtor 2 only
                                                                                               Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                         that you did not report as priority claims

               Check if this claim is for a community debt                                    Debts to pension or profit-sharing plans, and other similar debts
                                                                                            
                                                                                            ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.23 Syncb/Tjxdc                                                                            Last 4 digits of account number       3214                               0.00
                                                                                                                                                                    $__________________
        _____________________________________________________________                       When was the debt incurred?           ____________
                                                                                                                                  2018
        Nonpriority Creditor’s Name

        _____________________________________________________________
        Number              Street
                                                                                            As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
                                                                                               Contingent
        _____________________________________________________________
        City                                              State          ZIP Code              Unliquidated
        Who incurred the debt? Check one.                                                      Disputed
        
        ✔       Debtor 1 only
                                                                                            Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                               Student loans

               At least one of the debtors and another
                                                                                               Obligations arising out of a separation agreement or divorce
                                                                                                that you did not report as priority claims
               Check if this claim is for a community debt                                    Debts to pension or profit-sharing plans, and other similar debts
                                                                                            
                                                                                            ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.24     Thd/Cbna                                                                           Last 4 digits of account number       4605
         _____________________________________________________________                                                                                               8,350.00
                                                                                                                                                                    $_________________
         Nonpriority Creditor’s Name                                                        When was the debt incurred?           2017
                                                                                                                                  ____________
         Po Box 6497
         _____________________________________________________________
         Number             Street
                                                                                            As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Sioux Falls                         SD       57117
         _____________________________________________________________                         Contingent
         City                                             State          ZIP Code
         Who incurred the debt? Check one.                                                     Unliquidated

        
        ✔       Debtor 1 only
                                                                                               Disputed

               Debtor 2 only                                                               Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                     Student loans
               At least one of the debtors and another                                        Obligations arising out of a separation agreement or divorce
                                                                                                that you did not report as priority claims
               Check if this claim is for a community debt                                    Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                     
                                                                                            ✔   Other. Specify
        
        ✔       No
               Yes


   Official Form 106E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                            page __
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                                                                                                                                                                                     11
                               Case
                 Isabel Maria Siles         20-16082-AJC                    Doc 1    Filed 06/02/20           Page 33 of 63
Debtor 1        _______________________________________________________                              Case number (if known)_____________________________________
                First Name    Middle Name            Last Name



Pa rt 3 :     List Ot he rs t o Be N ot ifie d About a De bt T ha t Y ou Alre a dy List e d

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
    example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
    2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
    additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

      Cbna                                                                     On which entry in Part 1 or Part 2 did you list the original creditor?
     _____________________________________________________
     Name

      Citibank Credit Dispute Unit, Po Box 6497                                     4.5 of (Check one):
                                                                               Line _____                    Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number          Street                                                                                 
                                                                                                            ✔ Part 2: Creditors with Nonpriority Unsecured Claims

     _____________________________________________________
                                                                               Last 4 digits of account number     4942
      Sioux Falls                            SD  57117-6497
     _____________________________________________________
     City                                    State               ZIP Code


     _____________________________________________________                     On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________
                                                                               Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number          Street                                                                                  Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                               Claims

     _____________________________________________________                     Last 4 digits of account number
     City                                    State               ZIP Code


     _____________________________________________________                     On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________
                                                                               Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number          Street                                                                                  Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                               Claims

     _____________________________________________________                     Last 4 digits of account number
     City                                    State               ZIP Code


     _____________________________________________________                     On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________
                                                                               Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number          Street                                                                                  Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                               Claims

     _____________________________________________________                     Last 4 digits of account number
     City                                    State               ZIP Code


     _____________________________________________________                     On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________
                                                                               Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number          Street                                                                                  Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                               Claims

     _____________________________________________________                     Last 4 digits of account number
     City                                    State               ZIP Code


     _____________________________________________________                     On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________
                                                                               Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number          Street                                                                                  Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                               Claims

     _____________________________________________________                     Last 4 digits of account number
     City                                    State               ZIP Code


     _____________________________________________________                     On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________                     Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number          Street
                                                                                                             Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________                     Claims

     _____________________________________________________
     City                                    State               ZIP Code
                                                                               Last 4 digits of account number


  Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                                 page __
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                              Case
               Isabel Maria Siles          20-16082-AJC            Doc 1      Filed 06/02/20         Page 34 of 63
Debtor 1       _______________________________________________________                      Case number (if known)_____________________________________
               First Name    Middle Name         Last Name



Pa rt 4 :   Add the Am ount s for Ea c h Type of U nse c ure d Cla im


6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
    Add the amounts for each type of unsecured claim.




                                                                                       Total claim


                6a. Domestic support obligations                               6a.                         0.00
Total claims                                                                           $_________________________
from Part 1
                6b. Taxes and certain other debts you owe the
                    government                                                 6b.                         0.00
                                                                                       $_________________________

                6c. Claims for death or personal injury while you were
                    intoxicated                                                6c.                         0.00
                                                                                       $_________________________

                6d. Other. Add all other priority unsecured claims.
                    Write that amount here.                                    6d.
                                                                                     + $_________________________
                                                                                                           0.00


                6e. Total. Add lines 6a through 6d.                            6e.
                                                                                                           0.00
                                                                                       $_________________________



                                                                                       Total claim

                6f. Student loans                                              6f.                          0.00
Total claims                                                                            $_________________________
from Part 2
                6g. Obligations arising out of a separation agreement
                    or divorce that you did not report as priority
                    claims                                                     6g.
                                                                                                            0.00
                                                                                        $_________________________

                6h. Debts to pension or profit-sharing plans, and other
                    similar debts                                              6h.                          0.00
                                                                                       $_________________________

                6i. Other. Add all other nonpriority unsecured claims.
                    Write that amount here.                                    6i.   + $_________________________
                                                                                                     23,668.00


                6j. Total. Add lines 6f through 6i.                            6j.
                                                                                                      23,668.00
                                                                                        $_________________________




  Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                      page __
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                                                                                                                                                         11
                                    Case 20-16082-AJC                Doc 1        Filed 06/02/20           Page 35 of 63

 Fill in this information to identify your case:

                       Isabel Maria Siles
 Debtor               __________________________________________________________________
                       First Name             Middle Name            Last Name

 Debtor 2              ________________________________________________________________
 (Spouse If filing)    First Name             Middle Name            Last Name


 United States Bankruptcy Court for the:______________________
                                        Southern District of Florida District of ________
                                                                                 (State)
 Case number           ___________________________________________
  (If known)                                                                                                                             Check if this is an
                                                                                                                                            amended filing


Official Form 106G
Sc he dule G: Ex e c ut ory Cont ra c t s a nd U ne x pire d Le a se s                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
      
      ✔    No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.



      Person or company with whom you have the contract or lease                               State what the contract or lease is for


2.1
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.2
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.3
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.4
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.5
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________
      City                         State   ZIP Code


Official Form 106G                             Schedule G: Executory Contracts and Unexpired Leases                                                     1
                                                                                                                                              page 1 of ___
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 Fill in this information to identify your case:

                     Isabel Maria Siles
 Debtor 1           __________________________________________________________________
                        First Name                    Middle Name                 Last Name

 Debtor 2               ________________________________________________________________
 (Spouse, if filing) First Name                       Middle Name                 Last Name


 United States Bankruptcy Court for the:_______________________
                                         Southern District of Florida District of ________
                                                                                              (State)
 Case number            ____________________________________________
  (If known)
                                                                                                                                                   Check if this is an
                                                                                                                                                     amended filing

Official Form 106H
Sc he dule H : Y our Code bt ors                                                                                                                               12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      
      ✔    No
          Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      
      ✔    No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
                  No
                  Yes. In which community state or territory did you live? __________________. Fill in the name and current address of that person.


                   ______________________________________________________________________
                   Name of your spouse, former spouse, or legal equivalent

                   ______________________________________________________________________
                   Number            Street

                   ______________________________________________________________________
                   City                                             State                       ZIP Code

 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
      shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
      Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
      Schedule E/F, or Schedule G to fill out Column 2.

       Column 1: Your codebtor                                                                                  Column 2: The creditor to whom you owe the debt

                                                                                                                Check all schedules that apply:
3.1
         ________________________________________________________________________________                          Schedule D, line ______
         Name

         ________________________________________________________________________________
                                                                                                                   Schedule E/F, line ______
          Street                                                                                                   Schedule G, line ______
         ________________________________________________________________________________
         City                                                          State                       ZIP Code

3.2
         ________________________________________________________________________________                          Schedule D, line ______
         Name

         ________________________________________________________________________________
                                                                                                                   Schedule E/F, line ______
          Street                                                                                                   Schedule G, line ______
         ________________________________________________________________________________
         City                                                          State                       ZIP Code

3.3
         ________________________________________________________________________________                          Schedule D, line ______
         Name

         ________________________________________________________________________________
                                                                                                                   Schedule E/F, line ______
          Street                                                                                                   Schedule G, line ______
         ________________________________________________________________________________
         City                                                          State                       ZIP Code



Official Form 106H                                                             Schedule H: Your Codebtors                                                         1
                                                                                                                                                       page 1 of ___
                                  Case 20-16082-AJC                    Doc 1        Filed 06/02/20          Page 37 of 63

 Fill in this information to identify your case:

                      Isabel Maria Siles
 Debtor 1           ____________________________________________________________________
                     First Name              Middle Name                Last Name

 Debtor 2            ____________________________________________________________________
 (Spouse, if filing) First Name              Middle Name                Last Name


 United States Bankruptcy Court for the: ______________________
                                          Southern District of Florida District
                                                                                     tate)
 Case number         ___________________________________________                                         Check if this is:
  (If known)
                                                                                                          An amended filing
                                                                                                          A supplement showing postpetition chapter 13
                                                                                                            income as of the following date:
                                                                                                            ________________
Official Form 106I                                                                                          MM / DD / YYYY

Sche dule I : Your I nc om e                                                                                                                          12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Pa rt 1 :         De sc ribe Em ployme nt


1. Fill in your employment
    information.                                                              Debtor 1                                    Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with
    information about additional          Employment status                 Employed                                        Employed
    employers.                                                             
                                                                           ✔ Not employed                                    Not employed
    Include part-time, seasonal, or
    self-employed work.
                                          Occupation                     __________________________________           __________________________________
    Occupation may include student
    or homemaker, if it applies.
                                          Employer’s name                __________________________________            __________________________________


                                          Employer’s address             _______________________________________     ________________________________________
                                                                          Number Street                               Number    Street

                                                                         _______________________________________     ________________________________________

                                                                         _______________________________________     ________________________________________

                                                                         _______________________________________     ________________________________________
                                                                          City            State  ZIP Code              City                State ZIP Code

                                          How long employed there?________________________                             ________________________

 Pa rt 2 :         Give De t a ils About Mont hly I nc ome

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                                    For Debtor 1       For Debtor 2 or
                                                                                                                       non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.             2.            0.00
                                                                                                   $___________           $____________

 3. Estimate and list monthly overtime pay.                                                  3.   + $___________
                                                                                                            0.00      +   $____________


 4. Calculate gross income. Add line 2 + line 3.                                             4.            0.00
                                                                                                   $__________            $____________




Official Form 106I                                                   Schedule I: Your Income                                                      page 1
                 Isabel Maria Siles
                                       Case 20-16082-AJC                             Doc 1             Filed 06/02/20                 Page 38 of 63
Debtor 1         _______________________________________________________                                                     Case number (if known)_____________________________________
                 First Name         Middle Name               Last Name

                                                                                                                            For Debtor 1        For Debtor 2 or
                                                                                                                                                non-filing spouse

   Copy line 4 here ............................................................................................  4.              0.00
                                                                                                                            $___________            $_____________
5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                           5a.               0.00
                                                                                                                            $____________           $_____________
     5b. Mandatory contributions for retirement plans                                                            5b.               0.00
                                                                                                                            $____________           $_____________
     5c. Voluntary contributions for retirement plans                                                            5c.               0.00
                                                                                                                            $____________           $_____________
     5d. Required repayments of retirement fund loans                                                            5d.               0.00
                                                                                                                            $____________           $_____________
     5e. Insurance                                                                                               5e.               0.00
                                                                                                                            $____________           $_____________
     5f. Domestic support obligations                                                                            5f.               0.00
                                                                                                                            $____________           $_____________
                                                                                                                                   0.00
                                                                                                                            $____________           $_____________
     5g. Union dues                                                                                              5g.
     5h. Other deductions. Specify: __________________________________                                           5h.    + $____________
                                                                                                                                 0.00           +   $_____________
    _____________________________________________________________                                                           $____________           $____________
    _____________________________________________________________                                                           $____________           $____________
    _____________________________________________________________                                                           $____________           $____________

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                   6.                0.00
                                                                                                                            $____________           $____________
 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                           7.               0.00
                                                                                                                            $____________           $____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                                       0.00
                                                                                                                            $____________           $_____________
           monthly net income.                                                                                   8a.
     8b. Interest and dividends                                                                                  8b.               0.00
                                                                                                                            $____________           $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                                    0.00
                                                                                                                            $____________           $_____________
           settlement, and property settlement.                                                                  8c.
     8d. Unemployment compensation                                                                               8d.               0.00
                                                                                                                            $____________           $_____________
     8e. Social Security                                                                                         8e.             803.00
                                                                                                                            $____________           $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________
                   Food stamps                                                     8f.                                           192.00
                                                                                                                            $____________           $_____________

     8g. Pension or retirement income                                                                            8g.               0.00
                                                                                                                            $____________           $_____________

     8h. Other monthly income. Specify: _______________________________                 8h.$500.00
                                         Brother who lives with the Debtor and contributes            500.00
                                                                                                   a month.
                                                                                               $____________            +                        + $_____________
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                         9.           1,495.00
                                                                                                                            $____________           $_____________

10. Calculate monthly income. Add line 7 + line 9.
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                    10.
                                                                                                                               1,495.00
                                                                                                                            $___________    +       $_____________       =      1,495.00
                                                                                                                                                                             $_____________

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: _______________________________________________________________________________                                                                       11. + $_____________
                                                                                                                                                                                 0.00
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                                                                1,495.00
                                                                                                                                                                             $_____________
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                             12.
                                                                                                                                                                             Combined
                                                                                                                                                                             monthly income
13. Do you expect an increase or decrease within the year after you file this form?
      
      ✔    No.
          Yes. Explain:


  Official Form 106I                                                               Schedule I: Your Income                                                                     page 2
                                   Case 20-16082-AJC                     Doc 1             Filed 06/02/20           Page 39 of 63

  Fill in this information to identify your case:

                     Isabel Maria Siles
  Debtor 1          __________________________________________________________________
                      First Name              Middle Name                 Last Name                           Check if this is:
  Debtor 2            ________________________________________________________________
  (Spouse, if filing) First Name              Middle Name                 Last Name
                                                                                                               An amended filing
                                          Southern District of Florida
                                                                                                               A supplement showing postpetition chapter 13
  United States Bankruptcy Court for the: ______________________       District of __________                     expenses as of the following date:
                                                                                      (State)
                                                                                                                  ________________
  Case number         ___________________________________________                                                 MM / DD / YYYY
  (If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                                                    12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:            Describe Your Household

1. Is this a joint case?

   ✔ No. Go to line 2.
   
    Yes. Does Debtor 2 live in a separate household?
                    No
                    Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents?                  ✔ No
                                                                                          Dependent’s relationship to              Dependent’s   Does dependent live
   Do not list Debtor 1 and                  Yes. Fill out this information for           Debtor 1 or Debtor 2                     age           with you?
   Debtor 2.                                    each dependent..........................
   Do not state the dependents’
                                                                                                                                                      No
                                                                                           _________________________                ________
   names.                                                                                                                                             Yes

                                                                                           _________________________                ________          No
                                                                                                                                                      Yes

                                                                                           _________________________                ________          No
                                                                                                                                                      Yes

                                                                                           _________________________                ________          No
                                                                                                                                                      Yes

                                                                                           _________________________                ________          No
                                                                                                                                                      Yes

3. Do your expenses include
   expenses of people other than
                                               No
   yourself and your dependents?               Yes

Part 2:         Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                                  Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                                    560.35
                                                                                                                                      $_____________________
     any rent for the ground or lot.                                                                                          4.

     If not included in line 4:
                                                                                                                                                        0.00
     4a.    Real estate taxes                                                                                                 4a.     $_____________________
     4b.    Property, homeowner’s, or renter’s insurance                                                                      4b.
                                                                                                                                                        0.00
                                                                                                                                      $_____________________
     4c.    Home maintenance, repair, and upkeep expenses                                                                     4c.                      0.00
                                                                                                                                      $_____________________
     4d.    Homeowner’s association or condominium dues                                                                       4d.                      0.00
                                                                                                                                      $_____________________

  Official Form 106J                                             Schedule J: Your Expenses                                                               page 1
                                    Case 20-16082-AJC                 Doc 1      Filed 06/02/20       Page 40 of 63

                    Isabel Maria Siles
 Debtor 1          _______________________________________________________                   Case number (if known)_____________________________________
                   First Name     Middle Name        Last Name




                                                                                                                        Your expenses

                                                                                                                       $_____________________
                                                                                                                                      99.72
 5. Additional mortgage payments for your residence, such as home equity loans                                  5.


 6. Utilities:

        6a.   Electricity, heat, natural gas                                                                    6a.    $_____________________
                                                                                                                                     143.00
        6b.   Water, sewer, garbage collection                                                                  6b.    $_____________________
                                                                                                                                      40.00
        6c.   Telephone, cell phone, Internet, satellite, and cable services                                    6c.    $_____________________
                                                                                                                                     105.99
        6d.   Other. Specify: _______________________________________________                                   6d.    $_____________________
                                                                                                                                        0.00
 7. Food and housekeeping supplies                                                                              7.     $_____________________
                                                                                                                                     300.00
 8. Childcare and children’s education costs                                                                    8.     $_____________________
                                                                                                                                        0.00
 9. Clothing, laundry, and dry cleaning                                                                         9.     $_____________________
                                                                                                                                      40.00
10.    Personal care products and services                                                                      10.    $_____________________
                                                                                                                                      40.00
11.    Medical and dental expenses                                                                              11.    $_____________________
                                                                                                                                        0.00
12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                       $_____________________
                                                                                                                                      50.00
       Do not include car payments.                                                                             12.

13.     Entertainment, clubs, recreation, newspapers, magazines, and books                                      13.    $_____________________
                                                                                                                                      20.00
14.     Charitable contributions and religious donations                                                        14.    $_____________________
                                                                                                                                        0.00
                                                                                                                                                      1
15.     Insurance.
        Do not include insurance deducted from your pay or included in lines 4 or 20.

        15a. Life insurance                                                                                     15a.                    0.00
                                                                                                                       $_____________________
        15b. Health insurance                                                                                   15b.   $_____________________
                                                                                                                                        0.00
        15c. Vehicle insurance                                                                                  15c.   $_____________________
                                                                                                                                      95.00
        15d. Other insurance. Specify:_______________________________________                                   15d.   $_____________________
                                                                                                                                        0.00

16.    Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
        Specify: ________________________________________________________                                       16.
                                                                                                                                       0.00
                                                                                                                       $_____________________

17.    Installment or lease payments:

        17a. Car payments for Vehicle 1                                                                         17a.   $_____________________
                                                                                                                                        0.00
        17b. Car payments for Vehicle 2                                                                         17b.   $_____________________
                                                                                                                                        0.00
        17c. Other. Specify:_______________________________________________                                     17c.   $_____________________
                                                                                                                                        0.00
        17d. Other. Specify:_______________________________________________                                     17d.                    0.00
                                                                                                                       $_____________________

18.    Your payments of alimony, maintenance, and support that you did not report as deducted from
       your pay on line 5, Schedule I, Your Income (Official Form 106I).                                         18.                    0.00
                                                                                                                       $_____________________

19.    Other payments you make to support others who do not live with you.
       Specify:_______________________________________________________                                           19.
                                                                                                                                        0.00
                                                                                                                       $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

        20a. Mortgages on other property                                                                        20a.   $_____________________
                                                                                                                                        0.00
        20b. Real estate taxes                                                                                  20b.   $_____________________
                                                                                                                                        0.00
        20c. Property, homeowner’s, or renter’s insurance                                                       20c.   $_____________________
                                                                                                                                        0.00
        20d. Maintenance, repair, and upkeep expenses                                                           20d.   $_____________________
                                                                                                                                        0.00
        20e. Homeowner’s association or condominium dues                                                        20e.   $_____________________
                                                                                                                                        0.00


      Official Form 106J                                         Schedule J: Your Expenses                                                   page 2
                                    Case 20-16082-AJC               Doc 1       Filed 06/02/20           Page 41 of 63

                   Isabel Maria Siles
Debtor 1          _______________________________________________________                       Case number (if known)_____________________________________
                  First Name    Middle Name        Last Name




21.     Other. Specify:______________________________________________________________________                                              0.00
                                                                                                                   21.   +$_____________________
______________________________________________________________________________________                                   +$_____________________
______________________________________________________________________________________                                   +$_____________________
22.     Calculate your monthly expenses.

        22a. Add lines 4 through 21.                                                                             22a.                 1,494.06
                                                                                                                          $_____________________

        22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22c. Add line 22a   22b.     $_____________________

        and 22b. The result is your monthly expenses.                                                            22c.                 1,494.06
                                                                                                                          $_____________________


23. Calculate your monthly net income.
                                                                                                                                       1,495.00
                                                                                                                           $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                         23a.

      23b.   Copy your monthly expenses from line 22c above.                                                      23b.                 1,494.06
                                                                                                                         – $_____________________

      23c.   Subtract your monthly expenses from your monthly income.                                                                       0.94
                                                                                                                           $_____________________
             The result is your monthly net income.                                                               23c.



24. Do you expect an increase or decrease in your expenses within the year after you file this form?

       For example, do you expect to finish paying for your car loan within the year or do you expect your
       mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

       No.
      ✔
         Yes.      Explain here:




      Official Form 106J                                       Schedule J: Your Expenses                                                        page 3
                                            Case 20-16082-AJC          Doc 1               Filed 06/02/20           Page 42 of 63

Fill in this information to identify your case:

Debtor 1           Isabel Maria Siles
                  __________________________________________________________________
                    First Name                  Middle Name          Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name                  Middle Name          Last Name


                                        ______________________
United States Bankruptcy Court for the:Southern District of Florida District of __________
                                                                                 (State)
Case number         ___________________________________________
(If known)
                                                                                                                                          Check if this is an
                                                                                                                                             amended filing


  Official Form 106Dec
  De cla rat ion About a n I ndividua l De bt or’s Sche dule s                                                                                        12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                    Sign Be low



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

       
       ✔     No
            Yes. Name of person__________________________________________________. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
                                                                                                Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




     /s/ Isabel Maria Siles
          ______________________________________________            _____________________________
         Signature of Debtor 1                                          Signature of Debtor 2


              06/02/2020
         Date _________________                                         Date _________________
                MM /    DD       /   YYYY                                        MM / DD /    YYYY




  Official Form 106Dec                                        Declaration About an Individual Debtor’s Schedules
                                  Case 20-16082-AJC                    Doc 1             Filed 06/02/20        Page 43 of 63

 Fill in this information to identify your case:

 Debtor 1          Isabel Maria Siles
                   __________________________________________________________________
                     First Name              Middle Name                 Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name              Middle Name                 Last Name


 United States Bankruptcy Court for the: Southern
                                          ______________________
                                                  District of Florida District of ______________
                                                                               (State)
 Case number         ___________________________________________
  (If known)                                                                                                                                Check if this is an
                                                                                                                                              amended filing




Official Form 107
St a t e m e nt of Fina nc ia l Affa irs for I ndividua ls Filing for Ba nk rupt c y                                                                             4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.


 Pa rt 1 :       Give De t a ils About Y our M a rit a l St a t us a nd Whe re Y ou Live d Be fore


 1. What is your current marital status?


       Married
      
      ✔ Not married



 2. During the last 3 years, have you lived anywhere other than where you live now?

     
     ✔     No
          Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

               Debtor 1:                                           Dates Debtor 1         Debtor 2:                                             Dates Debtor 2
                                                                   lived there                                                                  lived there

                                                                                           Same as Debtor 1                                      Same as Debtor 1

               __________________________________________         From     ________          ___________________________________________           From ________
                Number    Street                                                             Number Street
                                                                  To       __________                                                              To      ________
               __________________________________________                                    ___________________________________________

               __________________________________________                                    ___________________________________________
               City                     State ZIP Code                                       City                     State ZIP Code


                                                                                           Same as Debtor 1                                      Same as Debtor 1


               __________________________________________         From     ________          ___________________________________________           From ________
                Number    Street                                                             Number Street
                                                                  To       ________                                                                To      ________
               __________________________________________                                    ___________________________________________

               __________________________________________                                    ___________________________________________
               City                     State ZIP Code                                       City                     State   ZIP Code


 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property states
     and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
     
     ✔     No
          Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




 Official Form 107                            Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 1
                                  Case 20-16082-AJC                           Doc 1        Filed 06/02/20             Page 44 of 63

Debtor 1        Isabel Maria Siles
                _______________________________________________________                                      Case number (if known)_____________________________________
                First Name      Middle Name             Last Name


  Pa rt 2 : Ex pla in t he Sourc e s of Y our I nc om e

 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

          No
     
     ✔     Yes. Fill in the details.

                                                                Debtor 1                                              Debtor 2

                                                                Sources of income            Gross income             Sources of income           Gross income
                                                                Check all that apply.        (before deductions and   Check all that apply.       (before deductions and
                                                                                             exclusions)                                          exclusions)


            From January 1 of current year until
                                                                
                                                                ✔   Wages, commissions,                                  Wages, commissions,
                                                                    bonuses, tips            $________________
                                                                                              0.00                        bonuses, tips           $________________
            the date you filed for bankruptcy:
                                                                   Operating a business                                 Operating a business


            For last calendar year:
                                                                
                                                                ✔   Wages, commissions,                                  Wages, commissions,
                                                                    bonuses, tips            $________________
                                                                                              0.00                        bonuses, tips           $________________
            (January 1 to December 31, _________)
                                       2019                        Operating a business                                 Operating a business
                                              YYYY



            For the calendar year before that:                  
                                                                ✔   Wages, commissions,                                  Wages, commissions,
                                                                    bonuses, tips                                         bonuses, tips
                                                                                             $________________
                                                                                              0.00                                                $________________
            (January 1 to December 31, _________)
                                       2018                        Operating a business                                 Operating a business
                                              YYYY



 5. Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
     and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
     winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

     
     ✔     No
          Yes. Fill in the details.

                                                     Debtor 1                                                          Debtor 2

                                                     Sources of income             Gross income from                   Sources of income          Gross income from
                                                     Describe below.               each source                         Describe below.            each source
                                                                                   (before deductions and                                         (before deductions and
                                                                                   exclusions)                                                    exclusions)


                                        _________________________                  $________________          _________________________          $________________
 From January 1 of current
 year until the date you                _________________________                  $________________          _________________________          $________________
 filed for bankruptcy:
                                        _________________________                  $_________________         _________________________          $_________________


                                         _________________________ $________________                           _________________________         $________________
For last calendar year:
                                         _________________________ $________________                           _________________________         $________________
(January 1 to
                                         _________________________ $_________________                          _________________________         $_________________
December 31, _________)


For the calendar year                    _________________________ $________________                           _________________________         $________________
before that:                             _________________________ $________________                           _________________________         $________________
(January 1 to                            _________________________ $_________________                          _________________________         $_________________
December 31, _________)




Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 2
                                  Case 20-16082-AJC                    Doc 1       Filed 06/02/20           Page 45 of 63

Debtor 1       Isabel Maria Siles
               _______________________________________________________                             Case number (if known)_____________________________________
               First Name       Middle Name           Last Name




 Pa rt 3 :    List Ce rt a in Pa ym e nt s Y ou M a de Be fore Y ou File d for Ba nk rupt c y



 6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

          No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
               “incurred by an individual primarily for a personal, family, or household purpose.”
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

                   No. Go to line 7.

                   Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and
                    the total amount you paid that creditor. Do not include payments for domestic support obligations, such
                    as child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
               * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

     
     ✔     Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

               
               ✔    No. Go to line 7.

                   Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                         creditor. Do not include payments for domestic support obligations, such as child support and
                         alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                      Dates of      Total amount paid        Amount you still owe       Was this payment for…
                                                                      payment


                      ____________________________________           _________      $_________________ $__________________               Mortgage
                      Creditor’s Name
                                                                                                                                         Car
                      ____________________________________           _________
                      Number    Street                                                                                                   Credit card
                                                                                                                                         Loan repayment
                      ____________________________________           _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________
                      City                    State       ZIP Code
                                                                                                                                         Other ______________


                      ____________________________________           _________      $_________________ $__________________               Mortgage
                      Creditor’s Name
                                                                                                                                         Car
                      ____________________________________           _________                                                           Credit card
                      Number    Street
                                                                                                                                         Loan repayment
                      ____________________________________           _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________                                                                               Other ______________
                      City                    State       ZIP Code




                      ____________________________________           _________      $_________________ $__________________               Mortgage
                      Creditor’s Name
                                                                                                                                         Car
                      ____________________________________           _________                                                           Credit card
                      Number    Street
                                                                                                                                         Loan repayment
                      ____________________________________           _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________                                                                               Other _______________
                      City                    State       ZIP Code




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 3
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Debtor 1            Isabel Maria Siles
                   _______________________________________________________                            Case number (if known)_____________________________________
                   First Name      Middle Name           Last Name




 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
     such as child support and alimony.

     
     ✔     No
          Yes. List all payments to an insider.
                                                                        Dates of      Total amount      Amount you still   Reason for this payment
                                                                        payment       paid              owe


            ____________________________________________              _________      $____________ $____________
            Insider’s Name


            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code



            ____________________________________________              _________      $____________ $____________
            Insider’s Name

            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code


 8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
     an insider?
     Include payments on debts guaranteed or cosigned by an insider.

     
     ✔     No
          Yes. List all payments that benefited an insider.
                                                                       Dates of        Total amount     Amount you still   Reason for this payment
                                                                       payment         paid             owe
                                                                                                                           Include creditor’s name

            ____________________________________________              _________      $____________ $____________
            Insider’s Name


            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code



                                                                                     $____________ $____________
            ____________________________________________              _________
            Insider’s Name


            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 4
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Debtor 1          Isabel  Maria Siles
                  _______________________________________________________                                        Case number (if known)_____________________________________
                  First Name            Middle Name            Last Name




  Pa rt 4 :       I de nt ify Le ga l Ac t ions, Re posse ssions, a nd Fore c losure s

 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
     and contract disputes.

     
     ✔     No
          Yes. Fill in the details.
                                                                      Nature of the case                   Court or agency                                 Status of the case

    Case title:
                                                                                                          ________________________________________           Pending
                                                                                                          Court Name
                                                                                                                                                             On appeal
                                                                                                          ________________________________________
                                                                                                          Number    Street                                   Concluded


                                                                                                          ________________________________________
                                                                                                          City                   State   ZIP Code
    Case number ________________________


                                                                                                          ________________________________________           Pending
                                                                                                          Court Name
    Case title:
                                                                                                                                                             On appeal
                                                                                                          ________________________________________
                                                                                                          Number    Street                                   Concluded


                                                                                                          ________________________________________
                                                                                                          City                   State   ZIP Code
    Case number ________________________

 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
     Check all that apply and fill in the details below.

     
     ✔     No. Go to line 11.
          Yes. Fill in the information below.

                                                                                Describe the property                                     Date          Value of the property



                   _________________________________________                                                                              __________     $______________
                   Creditor’s Name


                   _________________________________________
                   Number      Street                                           Explain what happened

                                                                                    Property was repossessed.
                   _________________________________________
                                                                                    Property was foreclosed.
                                                                                    Property was garnished.
                   _________________________________________
                   City                               State   ZIP Code              Property was attached, seized, or levied.

                                                                                Describe the property                                     Date           Value of the property



                                                                                                                                         __________      $______________
                   _________________________________________
                   Creditor’s Name


                   _________________________________________
                   Number      Street
                                                                                Explain what happened

                   _________________________________________                        Property was repossessed.
                                                                                    Property was foreclosed.
                   _________________________________________                        Property was garnished.
                   City                               State   ZIP Code
                                                                                    Property was attached, seized, or levied.



Official Form 107                                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 5
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Debtor 1          Isabel Maria Siles
                  _______________________________________________________                                Case number (if known)_____________________________________
                  First Name     Middle Name             Last Name




 11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
     accounts or refuse to make a payment because you owed a debt?
     
     ✔     No
          Yes. Fill in the details.

                                                                 Describe the action the creditor took                         Date action       Amount
                                                                                                                               was taken
           ______________________________________
           Creditor’s Name


           ______________________________________                                                                             ____________ $________________
           Number     Street


           ______________________________________

           ______________________________________
           City                           State   ZIP Code       Last 4 digits of account number: XXXX–


 12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
     creditors, a court-appointed receiver, a custodian, or another official?
     
     ✔     No
          Yes

 Pa rt 5 :        List Ce rt a in Gift s a nd Cont ribut ions


 13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

     
     ✔     No
          Yes. Fill in the details for each gift.


             Gifts with a total value of more than $600          Describe the gifts                                            Dates you gave        Value
             per person                                                                                                        the gifts



           ______________________________________                                                                              _________           $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                              _________           $_____________

           ______________________________________
           Number     Street


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you    ______________


           Gifts with a total value of more than $600            Describe the gifts                                            Dates you gave      Value
           per person                                                                                                          the gifts


           ______________________________________                                                                              _________           $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                              _________           $_____________


           ______________________________________
           Number     Street


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you ______________


Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 6
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Debtor 1            Isabel Maria Siles
                    _______________________________________________________                                     Case number (if known)_____________________________________
                    First Name     Middle Name              Last Name




 14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

     
     ✔     No
          Yes. Fill in the details for each gift or contribution.

             Gifts or contributions to charities                   Describe what you contributed                                         Date you            Value
             that total more than $600                                                                                                   contributed



           _____________________________________                                                                                         _________           $_____________
           Charity’s Name


           _____________________________________                                                                                         _________           $_____________


           _____________________________________
           Number       Street



           _____________________________________
           City            State    ZIP Code




 Pa rt 6 :          List Ce rt a in Losse s


 15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
     or gambling?

     ✔    No
          Yes. Fill in the details.

             Describe the property you lost and how                 Describe any insurance coverage for the loss                         Date of your loss   Value of property
             the loss occurred                                                                                                                               lost
                                                                    Include the amount that insurance has paid. List pending insurance
                                                                    claims on line 33 of Schedule A/B: Property.


                                                                                                                                         _________           $_____________




 Pa rt 7 :        List Ce rt a in Pa ym e nt s or T ra nsfe rs

 16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
     consulted about seeking bankruptcy or preparing a bankruptcy petition?
     Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

     
     ✔     No
          Yes. Fill in the details.

                                                                    Description and value of any property transferred                    Date payment or   Amount of payment
                                                                                                                                         transfer was made
             ___________________________________
             Person Who Was Paid

             ___________________________________
             Number       Street                                                                                                         _________           $_____________

             ___________________________________
                                                                                                                                         _________           $_____________
             ___________________________________
             City                       State    ZIP Code


             ____________________________________________
             Email or website address

             ___________________________________
             Person Who Made the Payment, if Not You



Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                              page 7
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Debtor 1           Isabel Maria Siles
                   _______________________________________________________                                    Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




                                                                    Description and value of any property transferred                Date payment or       Amount of
                                                                                                                                     transfer was made     payment

            ____________________________________
            Person Who Was Paid
                                                                                                                                     _________             $_____________
            ____________________________________
            Number       Street

                                                                                                                                     _________             $_____________
            ____________________________________

            ____________________________________
            City                        State    ZIP Code



            ________________________________________________
            Email or website address

            ___________________________________
            Person Who Made the Payment, if Not You


 17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
     promised to help you deal with your creditors or to make payments to your creditors?
     Do not include any payment or transfer that you listed on line 16.

     
     ✔     No
          Yes. Fill in the details.

                                                                    Description and value of any property transferred                Date payment or   Amount of payment
                                                                                                                                     transfer was made
            ____________________________________
            Person Who Was Paid
                                                                                                                                     _________             $____________
            ____________________________________
            Number        Street

            ____________________________________                                                                                     _________             $____________

            ____________________________________
            City                        State    ZIP Code

 18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
     transferred in the ordinary course of your business or financial affairs?
     Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
     Do not include gifts and transfers that you have already listed on this statement.
     
     ✔     No
          Yes. Fill in the details.

                                                                    Description and value of property         Describe any property or payments received      Date transfer
                                                                    transferred                               or debts paid in exchange                       was made
            ___________________________________
            Person Who Received Transfer

            ___________________________________                                                                                                               _________
            Number       Street

            ___________________________________

            ___________________________________
            City                        State    ZIP Code


            Person’s relationship to you _____________

            ___________________________________
            Person Who Received Transfer
                                                                                                                                                              _________
            ___________________________________
            Number       Street

            ___________________________________

            ___________________________________
            City                        State    ZIP Code

            Person’s relationship to you _____________

Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 8
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Debtor 1           Isabel Maria Siles
                   _______________________________________________________                                   Case number (if known)_____________________________________
                   First Name     Middle Name              Last Name




 19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
     are a beneficiary? (These are often called asset-protection devices.)

     
     ✔     No
          Yes. Fill in the details.

                                                                   Description and value of the property transferred                                       Date transfer
                                                                                                                                                           was made


                                                                                                                                                           _________
           Name of trust




 Pa rt 8 : List Ce rt a in Fina nc ia l Ac c ount s, I nst rum e nt s, Sa fe De posit Box e s, a nd St ora ge U nit s

 20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
     closed, sold, moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
     brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
     
     ✔     No
          Yes. Fill in the details.

                                                                   Last 4 digits of account number      Type of account or       Date account was       Last balance before
                                                                                                        instrument               closed, sold, moved,   closing or transfer
                                                                                                                                 or transferred
            ____________________________________
            Name of Financial Institution
                                                                       XXXX–___ ___ ___ ___              Checking               _________              $___________
            ____________________________________
            Number       Street
                                                                                                         Savings
            ____________________________________                                                         Money market
            ____________________________________
                                                                                                         Brokerage
            City                       State    ZIP Code                                                 Other__________

            ____________________________________                       XXXX–___ ___ ___ ___              Checking               _________              $___________
            Name of Financial Institution
                                                                                                         Savings
            ____________________________________
            Number       Street                                                                          Money market
            ____________________________________                                                         Brokerage
            ____________________________________                                                         Other__________
            City                       State    ZIP Code


 21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
     securities, cash, or other valuables?
     
     ✔  No
          Yes. Fill in the details.
                                                                       Who else had access to it?                  Describe the contents                       Do you still
                                                                                                                                                               have it?

                                                                                                                                                                  No
            ____________________________________                  _______________________________________
            Name of Financial Institution                         Name
                                                                                                                                                                  Yes

            ____________________________________                  _______________________________________
            Number       Street                                   Number      Street
            ____________________________________
                                                                  _______________________________________
                                                                  City          State      ZIP Code
            ____________________________________
            City                       State    ZIP Code



Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 9
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Debtor 1            Isabel Maria Siles
                    _______________________________________________________                                              Case number (if known)_____________________________________
                    First Name      Middle Name               Last Name




22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
    
    ✔      No
          Yes. Fill in the details.
                                                                     Who else has or had access to it?                        Describe the contents                       Do you still
                                                                                                                                                                          have it?


             ___________________________________                     _______________________________________                                                                No
             Name of Storage Facility                                Name                                                                                                   Yes
             ___________________________________                     _______________________________________
             Number       Street                                     Number    Street

             ___________________________________                     _______________________________________
                                                                     City State ZIP Code
             ___________________________________
             City                        State     ZIP Code



 Pa rt 9 :            I de nt ify Prope rt y Y ou H old or Cont rol for Som e one Else

 23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
     or hold in trust for someone.
     
     ✔   No
          Yes. Fill in the details.
                                                                    Where is the property?                                    Describe the property                    Value


             ___________________________________
             Owner’s Name                                                                                                                                              $__________
                                                                   _________________________________________
             ___________________________________                   Number     Street
             Number        Street
                                                                   _________________________________________
             ___________________________________
                                                                   _________________________________________
             ___________________________________                   City                             State     ZIP Code
             City                        State     ZIP Code


 Pa rt 1 0 :          Give De t a ils About Environm e nt a l I nform a t ion

 For the purpose of Part 10, the following definitions apply:
  Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
     hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
     including statutes or regulations controlling the cleanup of these substances, wastes, or material.

  Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize
     it or used to own, operate, or utilize it, including disposal sites.

  Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
     substance, hazardous material, pollutant, contaminant, or similar term.

 Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

 24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?


     
     ✔     No
          Yes. Fill in the details.
                                                                     Governmental unit                            Environmental law, if you know it                   Date of notice



            ____________________________________                    _______________________________                                                                    _________
            Name of site                                            Governmental unit

            ____________________________________                    _______________________________
            Number       Street                                     Number    Street

                                                                    _______________________________
            ____________________________________                    City                   State   ZIP Code


            ____________________________________
            City                        State     ZIP Code



Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                               page 10
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Debtor 1           Isabel Maria Siles
                   _______________________________________________________                                              Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




 25. Have you notified any governmental unit of any release of hazardous material?

     
     ✔     No
          Yes. Fill in the details.
                                                                   Governmental unit                               Environmental law, if you know it                     Date of notice


            ____________________________________                  _______________________________
            Name of site                                          Governmental unit
                                                                                                                                                                          _________

            ____________________________________                  _______________________________
            Number        Street                                  Number     Street


            ____________________________________                  _______________________________
                                                                  City                  State    ZIP Code
            ____________________________________
            City                        State    ZIP Code


 26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

     
     ✔     No
          Yes. Fill in the details.
                                                                                                                                                                          Status of the
                                                                    Court or agency                                     Nature of the case
                                                                                                                                                                          case

           Case title
                                                                    ________________________________                                                                         Pending
                                                                    Court Name
                                                                                                                                                                             On appeal
                                                                    ________________________________
                                                                    Number     Street                                                                                        Concluded


           Case number                                              ________________________________
                                                                    City                        State   ZIP Code



 Pa rt 1 1 :         Give De t a ils About Y our Busine ss or Conne c t ions t o Any Busine ss

 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
               A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
               A member of a limited liability company (LLC) or limited liability partnership (LLP)
               A partner in a partnership
               An officer, director, or managing executive of a corporation
               An owner of at least 5% of the voting or equity securities of a corporation

     
     ✔     No. None of the above applies. Go to Part 12.
          Yes. Check all that apply above and fill in the details below for each business.
                                                                    Describe the nature of the business                                Employer Identification number
            ____________________________________                                                                                       Do not include Social Security number or ITIN.
            Business Name


            ____________________________________                                                                                       EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Number        Street
                                                                                                                                       Dates business existed
            ____________________________________
                                                                    Name of accountant or bookkeeper
                                                                                                                                       From     _______             To _______
            ____________________________________
            City                        State    ZIP Code

                                                                    Describe the nature of the business                                Employer Identification number
            ____________________________________                                                                                       Do not include Social Security number or ITIN.
            Business Name


            ____________________________________                                                                                       EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Number        Street
                                                                                                                                       Dates business existed
            ____________________________________
                                                                    Name of accountant or bookkeeper
                                                                                                                                       From     _______                 To _______
            ____________________________________
            City                        State    ZIP Code


Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                     page 11
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Debtor 1           Isabel Maria Siles
                   _______________________________________________________                                    Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




                                                                    Describe the nature of the business                     Employer Identification number
                                                                                                                            Do not include Social Security number or ITIN.
            ____________________________________
            Business Name
                                                                                                                            EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            ____________________________________
            Number        Street
                                                                                                                            Dates business existed

            ____________________________________

                                                                    Name of accountant or bookkeeper
            ____________________________________                                                                            From     _______         To _______
            City                        State    ZIP Code




 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
     institutions, creditors, or other parties.

          No
          Yes. Fill in the details below.

                                                                    Date issued



            ____________________________________                    ____________
            Name                                                    MM / DD / YYYY


            ____________________________________
            Number        Street


            ____________________________________

            ____________________________________
            City                        State    ZIP Code




 Pa rt 1 2 :       Sign Be low


      I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
      answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
      in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.




           /s/ Isabel Maria Siles
            ______________________________________________                        _____________________________
            Signature of Debtor 1                                                    Signature of Debtor 2


            Date ________________
                  06/02/2020                                                         Date _________________

      Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

      
      ✔      No
            Yes


      Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
      
      ✔     No
           Yes. Name of person_____________________________________________________________. Attach the Bankruptcy Petition Preparer’s Notice,
                                                                                               Declaration, and Signature (Official Form 119).




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 12
                                      Case 20-16082-AJC                  Doc 1               Filed 06/02/20        Page 55 of 63

Fill in this information to identify your case:

                  Isabel Maria Siles
Debtor 1          __________________________________________________________________
                    First Name               Middle Name               Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name               Middle Name               Last Name


                                        ______________________
United States Bankruptcy Court for the:Southern District of Florida District of __________
                                                                                   (State)
Case number         ___________________________________________                                                                                Check if this is an
 (If known)                                                                                                                                       amended filing



  Official Form 108
  St a t e m e nt of I nt e nt ion for I ndividua ls Filing U nde r Cha pt e r 7                                                                            12/15

  If you are an individual filing under chapter 7, you must fill out this form if:
   creditors have claims secured by your property, or
   you have leased personal property and the lease has not expired.
  You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
  whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
  If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
  Both debtors must sign and date the form.
  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
  write your name and case number (if known).

    Pa rt 1 :        List Y our Cre dit ors Who H a ve Se c ure d Cla im s

    1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
       information below.

           Identify the creditor and the property that is collateral                    What do you intend to do with the property that   Did you claim the property
                                                                                        secures a debt?                                   as exempt on Schedule C?

          Creditor’s                                                                    Surrender the property.                           No
          name:           Citimortgage Inc
                                                                                        Retain the property and redeem it.                Yes
         Description of          14249 SW 296 Street
         property                                                                      
                                                                                       ✔ Retain the property and enter into a

         securing debt:                                                                      Reaffirmation Agreement.
                                                                                        Retain the property and [explain]:
                                                                                             ______________________________________


         Creditor’s        Central Loan Admin & R                                       Surrender the property.                           No
         name:
                                                                                        Retain the property and redeem it.               
                                                                                                                                          ✔ Yes
         Description of          14249 SW 296 Street
         property                                                                      
                                                                                       ✔ Retain the property and enter into a

         securing debt:                                                                      Reaffirmation Agreement.
                                                                                        Retain the property and [explain]:
                                                                                             ______________________________________

         Creditor’s                                                                     Surrender the property.                           No
         name:
                                                                                        Retain the property and redeem it.                Yes
         Description of
         property                                                                       Retain the property and enter into a
         securing debt:                                                                      Reaffirmation Agreement.
                                                                                        Retain the property and [explain]:
                                                                                             ______________________________________

         Creditor’s                                                                     Surrender the property.                           No
         name:
                                                                                        Retain the property and redeem it.                Yes
         Description of
         property                                                                       Retain the property and enter into a
         securing debt:                                                                      Reaffirmation Agreement.
                                                                                        Retain the property and [explain]:
                                                                                             ______________________________________


  Official Form 108                            Statement of Intention for Individuals Filing Under Chapter 7                                      page 1
                                     Case 20-16082-AJC             Doc 1        Filed 06/02/20       Page 56 of 63
                     Isabel Maria Siles
Debtor              ______________________________________________________                   Case number (If known)_____________________________________




 Pa rt 2 :          List Y our Une x pire d Pe rsona l Prope rty Le a se s

 For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
 fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
 ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

         Describe your unexpired personal property leases                                                            Will the lease be assumed?

         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:


         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:


         Lessor’s name:                                                                                              No
         Description of leased                                                                                       Yes
         property:


         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:


         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:


         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:


         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:




 Pa rt 3 :          Sign Be low



    Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any
    personal property that is subject to an unexpired lease.



  /s/ Isabel Maria Siles
         ___________________________________________             ___________________________________________
     Signature of Debtor 1                                         Signature of Debtor 2

             06/02/2020
     Date _________________                                        Date _________________
             MM /    DD   /   YYYY                                      MM /   DD /   YYYY




 Official Form 108                             Statement of Intention for Individuals Filing Under Chapter 7                          page 2
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Best Buy/Cbna
50 Northwest Point Road
Elk Grove Village, IL 60007


Capital One Bank Usa N
15000 Capital One Dr
Richmond, VA 23238


Capital One/Best Buy
Po Box 5253
Carol Stream, IL 60197


Cbna
Po Box 6497
Sioux Falls, SD 57117-6497


Cbna
Citibank Credit Dispute Unit, Po Box 649
Sioux Falls, SD 57117-6497


Central Loan Admin & R
425 Phillips Blvd
Ewing, NJ 08618


Citimortgage Inc
Po Box 9438
Gaithersburg, MD 20898


Comenitycb/Bjsclub
Po Box 182120
Columbus, OH 43218


Credit First N A
6275 Eastland Rd
Brookpark, OH 44142


Dsnb Macys


Greenskycr


Jpmcb Card
Po Box 15369
Wilmington, DE 19850


Kohls/Capone
N56 Ridgewood Dr
Menomonee Fal, WI 53051


Sears/Cbna
Po Box 6217
Sioux Falls, SD 57117
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Syncb/Bmrt
C/O P.O. Box 965036
Orlando, FL 32896-5036


Syncb/Brandsmart
Po Box 965036
Orlando, FL 32896


Syncb/Care Credit
950 Forrer Blvd
Kettering, OH 45420


Syncb/Jc Penney Dc
Po Box 965007
Orlando, FL 32896


Syncb/Jcp Dc
Po Box 965007
Orlando, FL 32896


Syncb/Lowes
Po Box 965005
Orlando, FL 32896


Syncb/Rooms To Go
Po Box 965036
Orlando, FL 32896


Syncb/Tjx


Syncb/Tjxdc


Thd/Cbna
Po Box 6497
Sioux Falls, SD 57117
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                              United States Bankruptcy Court
                              Southern District of Florida




         Isabel Maria Siles
In re:                                                          Case No.

                                                                Chapter    7
                      Debtor(s)




                              Verification of Creditor Matrix



       The above-named Debtor(s) hereby verify that the attached list of creditors is
true and correct to the best of their knowledge.




               06/02/2020                        /s/ Isabel Maria Siles
Date:
                                                 Signature of Debtor



                                                 Signature of Joint Debtor
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N ot ic e Re quire d by 1 1 U.S.C. § 3 4 2 (b) for
I ndividua ls Filing for Ba nk rupt cy (Form 2010)


                                                                Chapter 7:        Liquidation
 This notice is for you if:

     You are an individual filing for bankruptcy,
                                                                          $245     filing fee
       and                                                                 $75     administrative fee
                                                                +          $15     trustee surcharge
     Your debts are primarily consumer debts.
                                                                          $335     total fee
       Consumer debts are defined in 11 U.S.C.
       § 101(8) as “incurred by an individual                   Chapter 7 is for individuals who have financial
       primarily for a personal, family, or                     difficulty preventing them from paying their
       household purpose.”                                      debts and who are willing to allow their non-
                                                                exempt property to be used to pay their
                                                                creditors. The primary purpose of filing under
                                                                chapter 7 is to have your debts discharged. The
T he t ype s of ba nk rupt c y t ha t a re                      bankruptcy discharge relieves you after
a va ila ble t o individua ls                                   bankruptcy from having to pay many of your
                                                                pre-bankruptcy debts. Exceptions exist for
Individuals who meet the qualifications may file                particular debts, and liens on property may still
under one of four different chapters of the                     be enforced after discharge. For example, a
Bankruptcy Code:                                                creditor may have the right to foreclose a home
                                                                mortgage or repossess an automobile.
     Chapter 7 — Liquidation
                                                                However, if the court finds that you have
     Chapter 11 — Reorganization
                                                                committed certain kinds of improper conduct
                                                                described in the Bankruptcy Code, the court
     Chapter 12 — Voluntary repayment plan
                   for family farmers or                        may deny your discharge.
                   fishermen
                                                                You should know that even if you file
                                                                chapter 7 and you receive a discharge, some
     Chapter 13 — Voluntary repayment plan
                   for individuals with regular                 debts are not discharged under the law.
                   income                                       Therefore, you may still be responsible to pay:
                                                                    most taxes;
You should have an attorney review your                             most student loans;
decision to file for bankruptcy and the choice of
                                                                    domestic support and property settlement
chapter.
                                                                     obligations;




Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)          page 1
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   most fines, penalties, forfeitures, and                     your income is more than the median income
    criminal restitution obligations; and                       for your state of residence and family size,
   certain debts that are not listed in your                   depending on the results of the Means Test, the
    bankruptcy papers.                                          U.S. trustee, bankruptcy administrator, or
                                                                creditors can file a motion to dismiss your case
You may also be required to pay debts arising                   under § 707(b) of the Bankruptcy Code. If a
from:                                                           motion is filed, the court will decide if your
                                                                case should be dismissed. To avoid dismissal,
   fraud or theft;
                                                                you may choose to proceed under another
   fraud or defalcation while acting in breach                 chapter of the Bankruptcy Code.
    of fiduciary capacity;
                                                                If you are an individual filing for chapter 7
   intentional injuries that you inflicted; and
                                                                bankruptcy, the trustee may sell your property
   death or personal injury caused by                          to pay your debts, subject to your right to
    operating a motor vehicle, vessel, or                       exempt the property or a portion of the
    aircraft while intoxicated from alcohol or                  proceeds from the sale of the property. The
    drugs.                                                      property, and the proceeds from property that
                                                                your bankruptcy trustee sells or liquidates that
If your debts are primarily consumer debts, the                 you are entitled to, is called exempt property.
court can dismiss your chapter 7 case if it finds               Exemptions may enable you to keep your
that you have enough income to repay                            home, a car, clothing, and household items or
creditors a certain amount. You must file                       to receive some of the proceeds if the property
Chapter 7 Statement of Your Current Monthly                     is sold.
Income (Official Form 122A–1) if you are an
individual filing for bankruptcy under                          Exemptions are not automatic. To exempt
chapter 7. This form will determine your                        property, you must list it on Schedule C: The
current monthly income and compare whether                      Property You Claim as Exempt (Official Form
your income is more than the median income                      106C). If you do not list the property, the
that applies in your state.                                     trustee may sell it and pay all of the proceeds
                                                                to your creditors.
If your income is not above the median for
your state, you will not have to complete the
other chapter 7 form, the Chapter 7 Means                       Chapter 11: Reorganization
Test Calculation (Official Form 122A–2).
                                                                         $1,167 filing fee
If your income is above the median for your                     +          $550 administrative fee
state, you must file a second form —the                                  $1,717 total fee
Chapter 7 Means Test Calculation (Official
Form 122A–2). The calculations on the form—                     Chapter 11 is often used for reorganizing a
sometimes called the Means Test—deduct                          business, but is also available to individuals.
from your income living expenses and                            The provisions of chapter 11 are too
payments on certain debts to determine any                      complicated to summarize briefly.
amount available to pay unsecured creditors. If


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Re a d T he se I m port a nt Wa rnings


 Because bankruptcy can have serious long-term financial and legal consequences, including loss of
 your property, you should hire an attorney and carefully consider all of your options before you file.
 Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
 and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
 properly and protect you, your family, your home, and your possessions.
 Although the law allows you to represent yourself in bankruptcy court, you should understand that
 many people find it difficult to represent themselves successfully. The rules are technical, and a
 mistake or inaction may harm you. If you file without an attorney, you are still responsible for knowing
 and following all of the legal requirements.
 You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
 necessary documents.
 Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
 bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
 fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




Chapter 12: Repayment plan for family                           Under chapter 13, you must file with the court
            farmers or fishermen                                a plan to repay your creditors all or part of the
                                                                money that you owe them, usually using your
           $200 filing fee
                                                                future earnings. If the court approves your
+           $75 administrative fee
           $275 total fee
                                                                plan, the court will allow you to repay your
                                                                debts, as adjusted by the plan, within 3 years or
Similar to chapter 13, chapter 12 permits                       5 years, depending on your income and other
family farmers and fishermen to repay their                     factors.
debts over a period of time using future
earnings and to discharge some debts that are                   After you make all the payments under your
not paid.                                                       plan, many of your debts are discharged. The
                                                                debts that are not discharged and that you may
                                                                still be responsible to pay include:
                                                                    domestic support obligations,
Chapter 13: Repayment plan for
            individuals with regular                                most student loans,
            income                                                  certain taxes,
                                                                    debts for fraud or theft,
          $235    filing fee
                                                                    debts for fraud or defalcation while acting
+          $75    administrative fee
                                                                     in a fiduciary capacity,
          $310    total fee
                                                                    most criminal fines and restitution
Chapter 13 is for individuals who have regular                       obligations,
income and would like to pay all or part of                         certain debts that are not listed in your
their debts in installments over a period of time                    bankruptcy papers,
and to discharge some debts that are not paid.
                                                                    certain debts for acts that caused death or
You are eligible for chapter 13 only if your
                                                                     personal injury, and
debts are not more than certain dollar amounts
                                                                    certain long-term secured debts.
set forth in 11 U.S.C. § 109.


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                                                                A married couple may file a bankruptcy case
    Wa rning: File Y our Form s on T im e                       together—called a joint case. If you file a joint
                                                                case and each spouse lists the same mailing
    Section 521(a)(1) of the Bankruptcy Code                    address on the bankruptcy petition, the
    requires that you promptly file detailed information
                                                                bankruptcy court generally will mail you and
    about your creditors, assets, liabilities, income,
    expenses and general financial condition. The               your spouse one copy of each notice, unless
    court may dismiss your bankruptcy case if you do            you file a statement with the court asking that
    not file this information within the deadlines set by       each spouse receive separate copies.
    the Bankruptcy Code, the Bankruptcy Rules, and
    the local rules of the court.

    For more information about the documents and                U nde rst a nd w hic h se rvic e s you
    their deadlines, go to:                                     c ould re c e ive from c re dit
    http://www.uscourts.gov/bkforms/bankruptcy_form             c ounse ling a ge nc ie s
    s.html#procedure.
                                                                The law generally requires that you receive a
                                                                credit counseling briefing from an approved
                                                                credit counseling agency. 11 U.S.C. § 109(h).
Ba nk rupt c y c rim e s ha ve se rious
                                                                If you are filing a joint case, both spouses must
c onse que nc e s
                                                                receive the briefing. With limited exceptions,
     If you knowingly and fraudulently conceal                 you must receive it within the 180 days before
      assets or make a false oath or statement                  you file your bankruptcy petition. This briefing
      under penalty of perjury—either orally or                 is usually conducted by telephone or on the
      in writing—in connection with a                           Internet.
      bankruptcy case, you may be fined,
      imprisoned, or both.                                      In addition, after filing a bankruptcy case, you
                                                                generally must complete a financial
      All information you supply in connection                 management instructional course before you
      with a bankruptcy case is subject to                      can receive a discharge. If you are filing a joint
      examination by the Attorney General acting                case, both spouses must complete the course.
      through the Office of the U.S. Trustee, the
      Office of the U.S. Attorney, and other                    You can obtain the list of agencies approved to
      offices and employees of the U.S.                         provide both the briefing and the instructional
      Department of Justice.                                    course from:
                                                                http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html.
M a k e sure t he c ourt ha s your                              In Alabama and North Carolina, go to:
m a iling a ddre ss                                             http://www.uscourts.gov/FederalCourts/Bankruptcy/

The bankruptcy court sends notices to the                       BankruptcyResources/ApprovedCredit

mailing address you list on Voluntary Petition                  AndDebtCounselors.aspx.

for Individuals Filing for Bankruptcy (Official
                                                                If you do not have access to a computer, the
Form 101). To ensure that you receive
                                                                clerk of the bankruptcy court may be able to
information about your case, Bankruptcy
                                                                help you obtain the list.
Rule 4002 requires that you notify the court of
any changes in your address.


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